_ Case 2:90-cv-00520-KJM-SCR ~ Document 2242-3. Filed 05/24/07 Page 1 of 93

EXHIBIT I

Cas# 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. Page 2 of 93

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA -

JERRY VALDIVIA, ALFRED YANCY,

and HOSSIE WELCH, on their own
behalf and on behalf: of the class
of all persons similarly situated,

NO. CIV. S-94-671 LKK/GGH
Plaintiffs,

Vv. QR DER

GRAY DAVIS, Governor of the State
of California, et al.,

Defendants.

Plaintiffs, on behalf of themselves ‘and a class of
California parolees, filed this action. on May 2, 1994,
challenging the constitutionality of parole revocation
procedures by the California Board of Prison Terms (“BPT”) and
the California Department of Corrections (“CDC”). This matter
is before the court on plaintiffs’ motion for an order to show
cause why defendant Hickman should not be found in civil
contempt of the court’s Permanent Injunction Order. I decide

the motion based on the papers and pleadings filed herein and

1

Cas

25

26

b 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. + Page 3 of 93

after oral argument.
I.
PROCEDURAL BACKGROUND
On June 13, 2002, plaintiffs were granted partial summary
judgment on their claim that California’s unitary parole
revocation hearing system violated their due process rights

under Morrissey v. Brewer, 408 U.S. 481. (1972) and Gagnon v.

Scarpelli, 411 U.S. 778 (1973). See Valdivia v. Davis, 206
F.Supp.2d 1068 (E.D. Cal. 2002) (“June 13th Order”). The court

held that California's parole revocation system violated the Due
Process Clause of the Fourteenth Amendment by “allowing a delay
of up to forty-five days or more before providing the parolee an
opportunity to be heard regarding the reliability of the
probable cause determination.” Id. at 1078.

On.October 18, 2002, the court ordered the defendants to
file a proposed remedial plan addressing the violations
identified in the June 13th Order. On March 17, 2003, the
defendants provided plaintiffs with their proposed Valdivia
Remedial Plan (“VRP”), to which plaintiffs filed two objections.
While the parties continued to engage in settlement negotiations
over remaining claims not adjudged, defendants requested that
the court provide guidance as to:;the sufficiency of their VRP.
The court in response examined the VRP and ordered that
defendants file a revised remedial plan to meet specific
criteria. See Order dated July 23, 2003. On August 21, 2003,

the defendants filed a-revised VRP. In November 2003, before a

2

Cas# 2:90-Cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 4 of 93

25

26

final hearing on the revised VRP, the parties filed a Stipulated
Proposed Order for Permanent Injunctive Relief. Pursuant to
their settlement negotiations, the proposed order required
California's BPT and the CDC to develop and implement new parole
revocation processes to remedy pervasive constitutional
violations in the State’s then-existing procedures. The revised
VRP was referenced in and attached to the proposed permanent
injunction order. The parties sought preliminary approval from
the court that the settlement was sufficiently fair, reasonable
and adequate, and that it justified issuing notices to the class
and scheduling a final hearing. See Fed. R. Civ. P. 23(e). The
parties made their preliminary showing of fairness via a joint
Stipulated Motion for Preliminary Approval of Class Action
settlement, filed on November 24, 2003. On March 9, 2004, the
court granted the parties’ permanent stipulated injunction and
granted final approval of that Stipulated Permanent Injunction
on March 17, 2004(*“Order”).

The plaintiffs now allege that the defendants are in direct
violation of specific terms of the Permanent Injunction.

Il.
STANDARD
A district court has continuing jurisdiction to enforce its

injunction. Crawford v. Honig, 37 F.3d 485 (9th Cir. 1994).

The movant has the burden of proving by clear and convincing
evidence. that the defendants are in violation of the court’s

order. Wolfard Glassblowing Co. v. Vanbragt, 118 F.3d 1320,

Cas

b 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 5 of 93

1322 (9th Cir. 1997). To be enforceable by contempt, the
injunction must clearly describe prohibited or required conduct.

Gates v. Shinn, 98 F.3d 463, 468 (9th Cir. 1996). A defendant

should not be held in contempt for actions that “appear[] to be
based on a good faith and reasonable interpretation of the

court’s order ... .” Vertex Distributing, Inc. v. Falcon Foam

Plastics, Inc., 689 F.2d 885 (9th Cir. 1982).

Tit.
ANALYSIS

On April 11, 2005, defendant Roderick Hickman, Youth and
Adult Correctional Authority Secretary, issued a memorandum
(“Hickman Memo”) to state parole agents with a directive
prohibiting the use of certain remedial sanctions in lieu of
probation revocation. Decl. of Ernest Galvan (“Galvan Decl.”),
Exh. 2. The memorandum provides, in relevant part, that:
“Electronic In-Home Detention (“EID”), Community Correctional
Reentry Centers (“Halfway Back” Program) and the Substance Abuse
Treatment Control Units (“SATCU”) were clearly designed to
provide intermediate sanctions in lieu of parole revocation

Effective immediately, these programs will no longer be

used.”

Plaintiffs contend that the change in policy and practice

as commanded by the Hickman Memo is in direct contravention of

+ SATCUs are residential facilities, often within prisons or
jails, into which parolees can voluntarily accept detention for a
period of up to 90 days in lieu of parole revocation. See Cal.
Health & Safety Code §$§ 11560, 11561, 11563.

4

Casq 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 — Page 6 of 93

25

26

this court’s Order. The Permanent Injunction, they argue,
created procedures for, and ensured the use of, remedial
sanctions in place of parole revocation and imprisonment when
parole officers determine that such measures will best benefit
both the community and the parolee. According to plaintiffs,
the Hickman Memo effectively obliterates the remedial sanctions
provisions. In response, the defendants acknowledge that a
remedial sanctions plan is contained in the VRP. They argue,
however, that the court may not find them in violation of the
Permanent Injunction because remedial sanctions are not part of
that Order. I examine the parties’ contentions below.
A. PLAIN READING OF THE PERMANENT INJUNCTION

The court must first determine whether the language of the
Permanent Injunction Order incorporates remedial sanctions as
contended by plaintiffs.

As a general matter, principles of state law govern the
interpretation and enforcement of settlement agreements. Jeff

D. v. Andrus, 899 F.2d 753, 759 (9th Cir. 1989); see also Gates

v. Rowland, 39 F.3d 1439, 1444 (9th Cir. 1994) ("The rules of
contract interpretation of the situs state govern interpretation
of the consent decree."). ‘This is true even when the

underlying cause of action is federal in nature.” United

Commercial Ins. v. Paymaster Corp., 962 F.2d 853, 856 (9th Cir.
1992).
California law dictates that “Tt]he language of a contract

is to govern its interpretation[] if the language is clear and

5

Cast 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 7 of 93

explicit ... .” Cal. Civ. Code § 1638. The intention of
parties must therefore be gathered from the plain language on

the face of contract. Pacific States Corp. v. Hall, 166 F.2d 668

(9th: Cir. 1948).

Section IV of the permanent injunction, entitled “Policies,
Procedures, Forms, and Plans,” sets forth the prospective and
mandatory requirements for defendants. Paragraph 1ll(a) directs
the defendants to “develop and implement sufficiently specific
Policies and Procedures” to ensure compliance with “all of the
requirements of [the permanent injunction] Order.” It specifies
that “[t]he Policies and Procedures will provide for
implementation of the August 21, 2003 Remedial Outline (attached
hereto as Exhibit A), as well as the requirements set forth
below in Paragraphs 12-24.” PI Order, @1ll(a). As indicated by
the language, the VRP is indeed attached to the order.

Accordingly, the plain language of the Permanent Injunction

Clearly and explicitly incorporates: the VRP and orders the

defendants to comply with and implement it.? Defendants are
therefore bound by the terms of the VRP.

////

* Paragraph 12 reiterates that the Policies and Procedures
shall ensure that, in addition: to the Remedial Plan Outline, the
requirements set forth in paragraphs 13-24 are met. The
requirements in those paragraphs concern the parolee’s appointed
counsel’s ability to adequately represent the parolee, ,
confidentiality of parolee’s files, transparency and communication
between the involved parties during the parole revocation process,
and evidence used at the probable cause and final revocation
hearings.

Cas

b 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 8 of 93

3

B. THE FOUR CORNERS RULE

Despite the plain language of the permanent injunction
incorporating and directing compliance with the VRP, defendants
insist that, because remedial sanctions “are not mentioned in
the body of the injunction” itself, they cannot be a part of the
Order under the “four corners” rule. Def’s Opp. Br. at 5.
Defendants’ understanding of the four corners rule is mistaken.
It is well-established that reliance upon references or
documents expressly incorporated in a settlement agreement for

construction purposes “does not in any way depart from the ‘four

corners! rule.” United States v. ITT Continental Baking Co.,
420 U.S. 223, 238 (1975) (construing agreement containing consent
order and attached appendix as three “parts of the same
agreement” under “four corners” rule). Rather, the terms
contained in a document attached to an injunction bind the
parties just as much as the terms contained in the injunction

itself. See California v. Campbell, 138 F.3d 772, 783 (9th Cir.

©1998) (holding that enjoined defendants bound by terms of

document attached to injunction); see also Davis v. City and

County of San Francisco, 890 F.2d 1438, 1450 (9th Cir. 1989).

Further, although Rule 65(d) of the Federal Rules of Civil
Procedure provides that every order granting an injunction
"shall describe in reasonable detail, and not by reference to
the complaint or other document, the act or acts sought to be
restrained . . .," the rule does not necessarily preclude

incorporation by reference. State of Cal;, on Behalf of

7

Casfb 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. Page 9 of 93

1 || California Dept. of Toxic Substances, 138 F.3d 772 (9th Cir.

2] 1998).

3 The Ninth Circuit has explained that “the rationale behind
4j.the incorporation-by-reference language in Rule 65(d) [i]s a

5]} safeguard to ‘ensure adequate notice to defendants of the acts-

6} prohibited.’” Id. at 783 (quoting Henry Hope X-Ray Prods., Inc.

7iv. Marron Carrel, Inc., 674 F.2d 1336, 1343 (9th Cir. 1982)).
8 || Here, it cannot be said that the defendants were unaware of the
9] incorporation and contents. of the VRP, since the Stipulated

10] Order for Permanent Injunction, including the VRP, were
11] submitted by the ‘parties themselves pursuant to their settlement
12 |} negotiations.* The Order’s reference to and attachment of the
13]| VRP therefore conforms with the “four corners rule” as well as
14 |] with Rule 65(d).
15] Cc. THE VRP AND REMEDIAL SANCTIONS
16 As contended by the plaintiffs, a review of the VRP
17 || demonstrates that remedial sanctions are included at nearly
18 |) every step of the new revocation process created by the parties

19] pursuant to their settlement negotiations. The VRP is a six-

> Other evidence unambiguously demonstrates the defendants’
21] own understanding that remedial sanctions are part of the Permanent
Injunction. The. defendants posted class member notices, approved
22} by the court, in every jail, prison and parole office in
California. The short notice explicitly states that, “[u]nder the
23] agreement, by early 2004, some parolees will be. sent to community-
based programs, instead of prison.” Galvan Decl., Exh. 8,

24 attachments. The longer notice provides that “the Permanent
Injunction will require many changes in the revocation system,”
25 |} including that “the BPT and CDC will use alternatives to parole
revocation, such as treatment in the community, for some parolees
26 || who would otherwise be arrested on parole violation charges.” Id.

8

Casdj 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 10 of 93

25

26

page document along with a flow chart. The second section of
the VRP, entitled “Remedial Sanctions,” provides that, “as part
of the overall reform of the revocation process, the Parole and
Community Services Division of the Department of Corrections
will begin using remedial sanctions/community based treatment

-“ VRP at 1. It explains that “some of the remedial
sanctions/community based treatment programs that will be used
are the Substance Abuse Treatment Control Units, Electronic
Monitoring, Self-Help Outpatient/aftercare programs, and
alternative placement in structured and supervised
environments.” Id. Emphasized in bold and capital letters, the
VRP provides that if, shortly after the alleged parole violation
occurs, “remedial sanctions are deemed inappropriate and a
parole hold is placed on the parolee, a probable cause
determination/review will take place . . . .” According to the
VRP, officials will then again consider remedial sanctions
during the probable cause determination. That procedure was
apparently put into place “in an attempt to take a second look
at those individuals who have been placed into custody to
determine if the ‘present danger to public safety’ concern still
exists or if remedial sanctions/community based treatment is
possible at th[at] juncture.” Id. at 2. If remedial sanctions
are deemed inappropriate, the parolee is given notice of charges
and a probable cause hearing shall be conducted within ten
business days of when the notice is provided. The VRP explains

that remedial sanctions/community based treatment must again be

9

Casd 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. Page 11 of 93

25

26

consideréd twice before the probable cause hearing. VRP at 3,
4.4 Finally, the “Deputy Commissioner/Parole Administrator
shall have the complete range of options to resolve the case,”
including “remedial sanctions/community based treatment.” Id. at
5.

Accordingly, pursuant to its mandatory language, the
permanent injunction requires that defendants (1) consider
remedial sanctions throughout the new parole revocation process,
and that the remedial sanctions include (2) “the Substance Abuse
Treatment Control Units, Electronic Monitoring, Self-Help
Outpatient/aftercare programs, and alternative placement in
structured and supervised environments.” VRP at l.

D. PERMANENT INJUNCTION VIOLATIONS

Having concluded that the permanent injunction clearly

‘requires the remedial sanctions procedures as set forth in the

VRP, I now examine whether the directives in the Hickman Memo
violate the court’s Order.

The Hickman Memo creates a new policy and practice which
prohibit the consideration and use of Electronic In-Home

Detention (“EHM”), Substance Abuse Treatment Control Units, and

“ Specifically, the VRP states that “On or before the fourth
business day, the Unit Supervisor must review the report and
. consider whether or not remedial sanctions/community based
treatment 1s appropriate in lieu of proceeding with referral to the
Board of Prison Terms with a recommendation that the parolee be
returned to prison.” Id. at 3. “The revocation packet is reviewed
by the Parole Administrator [on or before the 4th business day] to
determine whether or not there is a sufficient basis for the case
to move forward and whether or not remedial sanctions/community
based treatment is appropriate at this juncture.” Id. at 4.

.10

Case|2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 12 of 93

25

26

Community Correctional Reentry Centers (“CCRCs”) as sanctions in
lieu of parole revocation. The prohibition of the-use of the
first two remedial sanctions offends the Permanent Injunction’s
mandate that SATCUs and Electronic Monitoring be considered and
used when appropriate. The Order provides that these two
programs “will be used,” VRP at l(emphasis added). Defendants
respond that any conflict between the memorandum and the
permanent injunction is inconsequential because they will
“retool” these programs and may offer them to parolees upon.
their release from prison, even before a parole violation
occurs. Def’s Oppo. at 9. Although such a policy is laudable,
it is no substitute for that required by the permanent
injunction. The VRP explicitly states that the SATCUs and
Electronic Monitoring “will” be used in the manner described
therein, thus indicating a requirement or command and
eliminating any choice or discretion as to the matter.
Therefore, these programs must be made available and be
considered throughout the parole revocation process after a

parole violation occurs.°®

° Defendants also assert that the Hickman Memorandum “did not
supercede the Board of Prison Term’s authority under California
Code of Regulations, Title 15, sections 2513, 2645 and 2646.”
Defs’ Oppo. at 9. According to them, the BPT retains the
discretion to place a parolee in a community program rather than
revoke probation. This argument has no merit for two reasons.
One, the issue here is not whether the Hickman Memo violates state
law, but whether it violates the Permanent Injunction. Second, as
plaintiff point out, those sections do not require consideration
of the remedial sanctions listed in the Permanent Injunction
throughout the. revocation process.

11

,

Casd| 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. Page 13 of 93

25

26

Whether the restriction on the use of Community

Correctional Reentry Centers also violates the Permanent

Injunction is a closer question. The VRP mandates the

consideration of “Self-Help Outpatient/aftercare programs” and
“alternative placement in structured and supervised
environments.” Unlike the SATCU and EHD, these other remedial
Sanctions describe types of programs, rather than specific
programs. “Community Correctional Reentry Centers are formal,
controlled environments for residential drug treatment, Cal.
Penal Code §§ 6250.5 (b), 6251, 6253(a),(b), 6258(b), and
therefore comport with the requirement for “placement in

structured and supervised environments.” However, the Order

contemplates that other programs that qualify as structured and

supervised environments may also be employed. It appears, then,
that the prohibition of the use of CCRCs does not violate the
court’s Order as long as the defendants offer other remedial
Sanctions that are “Self-Help Outpatient /aftercare programs” and
“alternative placement in structured and supervised
environments.” If they do not, then the removal of CCRCs as

available remedial sanctions would result in no “Self-Help

Outpatient/aftercare programs” or “alternative placement in

structured and supervised environments.”® The defendants argue

° Plaintiffs assert that the CCRCs were the “alternative
placement in structured and’ supervised environments” included in
defendants’ policies and procedures filed to implement the
Permanent Injunction: Pls’ Reply at 2. The language of the
Policies and Procedures does not support plaintiffs’ assertion,
however. The language there states only that “[r]emedial sanctions

12

Cas¢| 2:90-cv-00520-KJM-SCR Document'2242-3 Filed 05/24/07 Page 14 of 93

25

26

that they continue to provide remedial sanctions under these two
categories of remedial sanctions. According to defendants, they
will continue to utilize community based programs in the
disposition of parole violations when public safety is not
endangered. The issue then is whether any of those programs are
suitable under the “Self-Help Outpatient/aftercare programs” or
“alternative placement in structured and supervised
environments” categories.

Defendants first explain that they will use the “Substance
Abuse Recovery and Treatment Program” (STAR) which is “an
instructional-based education program designed to teach parolees
how to address and prevent substance abuse.” Defs’ Oppo. at 8.
Plaintiffs object that the STAR program is not a residential
alternative, but.is rather a classroom-based educational program
run out of local parole offices. Pls! Reply at 13. Apparently,
plaintiffs believe that, because the CCRCs are residential drug
treatment programs, any replacement program must also be
residential. That position is not grounded on any authority,
however.’ In their briefs, plaintiffs also object to the
defendants’ assertion that they will continue to use programs

such as “Proposition 36" community treatment centers, Community

may include but are not limited to” a “Half-way Back Program”
(CCRCs). Galvan Decl., Exh. 5 (Policies & Procedures) at 3.

‘The only terms in the Permanent Injunction relating to a
residential program relate to the requirement that SATCUs, which
are residential facilities, be available and consideréd as remedial
sanctions.

13

Cas@|2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07, Page 15 of 93

based drug and alcohol rehabilitation centers; Parole Services
Network (PSN), Parolee Partnership Program, Narcotics Anonymous,
and Alcoholics Anonymous.

At oral argument, the plaintiffs conceded that there are
no standard definitions for the terms “Self-Help
Outpatient/aftercare programs” and “alternative placement in

structured and supervised environments” to guide the court in

determining whether defendants’ new programs are suitable under

these two categories. -More importantly, the plaintiffs also

conceded that the use of this broad language vests the

‘defendants with discretion in selecting the programs under these

two categories.’ The plaintiffs do not provide the court with
any information about the substitute programs upon which it can
find that these programs are inadequate under the Permanent
Injunction. Further, because this court must “accord deference

to the appropriate prison authorities,” Turner v. Safley, 482

U.S. 718, 85 (1987), in their exercise of discretion regarding
what types of programs meet the requirements of these two
categories, the court will not find defendants in violation of

the Permanent Injunction by virtue of the elimination of CCRCs.°

° The plaintiffs object to the defendants’ purported use of
“Substance Abuse Coordination Agencies” (SACAs) as remedial
sanctions on the grounds that those programs offer services to
parolees “graduating from prison substance abuse programs” and are
therefore not available to parole violators. Decl. Of Holly
Baldwin in Supp. of Pls’ Reply, Exh. B at 21. Defendants do: not
argue to the contrary. The defendants are admonished that, if it
is true that SACAs are not available for parole violators, then
they do not qualify as remedial sanctions under the Permanent
Injunction.

14

Cas! 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 16 of 93

25

26

As explained above, while removal of the CCRCs does not
violate the Permanent Injunction, removal of Blectronic
Monitoring and SATCUs as available remedial sanctions as
explained in the VRP is violative of that Order. The court,
however, does not believe that a contempt order is warranted at
this time. There is nothing before the court indicating that
the Hickman Memo was issued in bad faith, rather, the
defendants’ interpretation of the Permanent Injunction, although
erroneous, was arguably reasonable. Further, it appears that

the defendants have substantially complied with the court’s

Order. Vertex Distributing, Inc. v. Falcon Foam Plastics, Inc.,
689 F.2d 885 (9th Cir. 1982) (explaining that substantial
compliance with the terms, of a consent judgment is a valid
defense to and basis upon which to find against. civil contempt).
IV.
CONCLUSION

Plaintiff’s motion is GRANTED in part and DENIED in part as
follows:

1. The defendants are in violation of the Permanent.
Injunction Order by virtue of the elimination of the remedial
sanctions of Electronic Monitoring and SATCUs;

2. The removal of the CCRCs is not in violation of
the Permanent Injunction Order; and
////

////
////

15

Case|2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. Page 17 of 93

25

26

3. Defendants will not be held in contempt.
IT IS SO ORDERED.

DATED: June 8, 2005.
/s/Lawrence K. Karlton:
LAWRENCE K. KARLTON
SENIOR JUDGE
UNITED STATES DISTRICT COURT

16

Case 2:90-cv-00520-KJM-SCR’ -Document 2242-3 Filed 05/24/07 Page 18 of 93

\

EXHIBIT J

-90-cy-00520-K JM- 42-3 _Filed 05/24/07 _Page.19 of 93
CASE eB OU SV WOOP PLKRGGH PBaodimentf302° Filed O9/14/2006 Pas’ t oF 64

FILED

SEP 1 4 2006

,, BLEAK, U.S. DISTRI
EASTERN DISTRICT GF CALIFORNIA

BY

CLERK
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
VALDIVIA, et al.,
Plaintiffs, —

V8. No. CIV 8-94-671 LKK/GGH
ARNOLD SCHWARZENEGGER, et al.,

Defendants,
/

FIRST REPORT OF THE SPECIAL MASTER
ON THE STATUS OF
CONDITIONS OF THE REMEDIAL ORDER
Background

On May 2, 1994, the Valdivia vs, Schwarzenegger class action lawsuit was filed,
The Court certified the case as a class action by order dated December 1, 1994. On June
13, 2002, the Court granted partial summary judgment in favor of the Plaintiffs, On July
23, 2003, the Court ordered the Defendants to submit a remedial plan, with specific
guidance regarding: “...a preliminary probable cause hearing which (1) occurs no more
than ten calendar days aficr a parolee is taken into custody for an alleged parole violation,

and (2) affords the parolee rights provided by Morrissey, including notice of the alleged

‘90-cv- -KJM; D nt 2242-3 _ Filed 05/24/07 Page 20 of 93
CASE 558 O OY OO MHOTE LKR GOH PBC Ae? cite bond e006 Page 2 of 64

violations, ihe opportunity to appear and present evidence, a conditional right to confront
adverse witnesses, an independent decision-maker, and a written report of the hearing.”
On March 8, 2004, the Court entered a Stipulated Order for Permanent Injunction
containing the agreed-upon elements of the settlement terms. On July 1, 2004, the
Defendants submitted a variety of policies and procedures to the Court. On June 8, 2005,
the Court filed a Stipulation and Order finding violation of the Remedial Plan regarding
remedial sanctions.
On August 18, 2005, a Stipulation and Amended Order Re: Special Master Order
of Reference was entered; on December 16, 2005, an Order Appointing Chase Riveland
Special Master was entered; and on January 31, 2006, an Order was entered appointing

Virginia Morrison and Nancy Campbell as Deputy Special Masters.

Special Master Activities

During the period since December 16, 2005, the Special Master and Deputy
Special Masters were briefed by the California Department of Corrections and
Rehabilitation (CDCR) staff, Board of Parole Hearings (BPH) staff, Division of Adult
Parole Operations (DAPO) staff, Plaintiffs’ and Defendants’ counsel, and California
Parole Advocacy Program (CalPAP) staff,

The team visited Los Angeles: and Yolo county jails and Decentralized
Revocation Units (DRUs) at Santa Rita County Jail, San Quentin, Richard McGee, Los
Angeles, and Denel Vocational Institution. We reviewed parole field units in San
Francisco, Oakland, Los Angeles, Bakersfield, Visalia, Hayward, and Sacramento;
ICDTP programs in San Francisco, Kem County, and Tulare County Pretrial Facility; and

ICDTP aftercare programs, contracted through Westcare with Turning Point, in Visatia

: 99-cv-00520-KJIM-SCR . Document 2242-3 _ Filed 05/24/07 Page 21 of 93
ASR BF GA CV DOB TLEKIGGH PBocunnnt {302 — Filet 09/14 2608 Page 3 of 64

and Bakersfield. We made several visits to CDCR, BPH, and DAPO headquarters,
attending the Valdivia Task Force meeting twice, and to the offices of Rosen, Bien, and
Asaro, Coordination occurred with the Special Master.

The Special Master met with CDCR Secretary Hickman, Acting Secretary
Woodford, and Interim Secretary Tilton.

Special attention has been placed on the data system, due to its importance in
measuring compliance, and the history and present status of remedial sanctions, due to
the failure of Defendants to make progress on this Remedial Pian-stated requirement.

The team reviewed numerous policies and procedures and other documents —
provided by Defendants and Plaintiffs—both historical and eurrent—and scanned
monitoring reports. The team evaluated data from CDCR’s Revocation and Scheduling
Tracking System (RSTS) and an information system maintained by CalPAP, and we
assessed in depth RSTS’s data gathering, analysis, and reporting capabilities and
deficiencies.

The team observed “revocation serves,” probable cause hearings conducted in
person and by telephone, atid final revocation hearings, as well as monitoring by
Plaintiffs’ attorneys and Defendants’ first self-monitoring tour. We also observed the
delivery of Contra Costa County Drug and Alcohol classes, which form the core of the
in-custody stage of the ICDTP program.

A meeting between Defendants’ representatives, Plaintiffs’ attomeys, and the
Special Master’s team was held in March 2006. Defendants and Plaintiffs were asked to
submit their five “imminently critical issues” prior to the meeting. The issues submitted

were as follows:

Case 2:90-cv-00520-KJIM-SCR. Document 2242-3 _ Filed 05/24/07 Page 22 of 93
CAse 2:04-cv-00671-

Plaintiffs:

Defendants not meeting due process deadlines

Remedial sanctions not being implemented by Defendants
Inadequate staffing

Telephonic probable cause hearings

Inadequate system for ensuring effective communication (for special needs
parolccs) .

Me we fh

Defendants:

Amount of Plaintiffs’ monitoring

Telephonic probable cause hearings

Remedial sanctions
Disagreement over remedies for individual Plaintiffs when Defendants fail to
meet the timelines in the Permanent Injunction

5, Defining substantial compliance

BWR

Although each of their issues, and others, were discussed, the primary. issues
discussed at that time were Defendants’ internal oversight processes and a plan for
monitoring. The Defendants’ representatives and the Plaintiffs’ counsel decided to
develop proposed plans and then negotiate to agreement. This did occur in April 2006,
with a plan agrced upon for the remaining quarters of 2006. Key factors in the plan
include a decrease in the frequency of Plaintiffs’ site monitoring in some areas,
Defendants’ self-monitoring in some areas (with results being forwarded to the Plaintiffs’
representatives) and an increase in some types of information being provided to the
Plaintiffs by the Defendants. In all instances, Plaintiffs’ attorneys wil! continue to _
interview class members.

A joint meeting, held in June 2006, arose out of Plaintiffs’ request for a wide
range of information to inform the writing of the instant report. The meeting resulted in

clarifying information system capabilities, agreeing on provision of some requested

'90-cv-00520-KJM-SCR.. Document 2242-3 _ Filed 05/24/07 Page 23 of 93
ASE 45 9 G4 v-UUSTLLKRGOH Bocument 1302” Filed 09/14/2006 Packs of 64

information, moving some issues to meet and confer sessions, and identifying issues for

further study.

Information Systems

Defendants maintain several information systems related to the Valdivia process.
impressively, eatly in Remedial Plan implementation, they initiated a thoughtful,
thorough approach to data gathering as a component of the Revocation and Scheduling
Tracking System (“RSTS”). While Defendants are to be commended for these early
steps, as it currently stands, Defendants cannot demonstrate their level of compliance
with many components of the Injunction.

Defendants must rely on an information system to guide and structure many of the
daily activities that constitute the Valdivia process — gathering and communicating
parolee-specific information, documenting actions taken so the next may begin, alerting
staff to upcoming deadlines, scheduling, and the like. It is part of the fabric of compliance
itself. With the high volume of revocations handled, only a solid information system can
substantiate that hearings and related processes consistently comport with this Court’s
requirements and due process. Likewise, a well-functioning information system is a
necessary condition for Defendants to demonstrate they are capable of resuming internal
oversight without necd of court supervision. As will be described below, significant
changes to RSTS are critical to this effort.

The existing system does well on several counts. It captures detailed information:
about individuals, their charges, staff involved in the case, many relevant dates, some key
factors about the case, and narrative about the history of its management. Staff at various

levels have access to read records and/or to input their own actions in real time, reducing

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 + Page 24 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 - Page 6 of 64

the possibilities for bottlenecks seen in systems that rely solely on clerical staff. Parolees’
attorneys have access to view system contents. A number of reports are tailored for
different managers’ purposes, with some allowing examination of performance standards
and time use of individual staff, a parole unit, or a DRU and the parole units associated
with it. Some reports either alert a manager, or are available to demonstrate on review,
cases approaching a deadline, Aggregate reports were designed to take different looks at
the timeliness of Valdivia steps in the revocation process, There have been three upgrades

since Valdivia activities were integrated into the system.

As with all data systems, usage leads to discovery of the limitations of the system. _

Where predefined fields did not precisely serve a need, different staff adopted different
recording methods, Defendants appropriately have attempted training and design
measures to correct for these inconsistencies once they were discovered, but the result,
for this initial reporting period, is an inability to precisely answer a number of questions
bearing on compliance.

- In this iterative process, Defendants, Plaintiffs, and the Special Master have
discovered several other components requiring attention, Some important data points are
not captured (e.g., the date information is sent to CalPAP) and the identification of others
is not always clear (¢.g., the “date received” appears to refer to the Decentralized
Revocation Unit’s receipt, but is, in fact, BPH’s receipt after the Parole Administrator’s
review).

Most importantly, significant amounts of information existing in the system and
bearing on compliance cannot be accessed by the reports currently in use. Defendants

have informed the Special Master that running non-standard reports is a burdensome and

Case_2:90-cv-00520-KJIM-SCR | Document 2242-3 _ Filed 05/24/07 Page 25 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 7 of 64

expensive process, and that funds are not available to do so with any regularity. This
leaves daily oversight and system analysis for these items to be accomplished by
reviewing one at a time what may be hundreds or thousands of records. Other important
pieces of information cannot cven be identified through that method. Still other reports do
not capture whole categories of cases in their totals or their percentage calculations, and

that information can only be captured through the above-described laborious method, In
both Defendants’ and CalPAP data, the missing categories of information tend to be cases
where the circumstances vary from the norm and either the parties have not agreed upon
methods for calculating the timelines and/or the database cannot track them in a different
fashion. Additionally, some categories not captured in Defendants? Teports are cases
where they argue that good cause exists for exceeding the timeline.

Reportedly very little information is captured about disabilities, needs for
reasonable accommodation or additional measures to accomplish effective
communication, and whether those needs were met. The court in Armstrong y.
Schwarzenegger — a case in the remedy implementation phase that concerns a variety of
reasonable accommodations in prison and parole processes — found in May 2006 that
RSTS does not have sufficient tracking capabilities for reasonable accommodations. That
court ordered that this aspect of the data system be addressed on a short schedule, and
changes reportedly may be extensive. Additionally, ‘the programmed logic for RSTS
reports ~ the descriptions of how it makes its calculations, what a field or report includes
or excludes, etc, — is not consistently captured in written documents.

Together, these conditions mean that unreasonable amounts of management time

are diverted, any record-by-record, large volume analysis carries the risk of inaccuracy

ase 2:94-c

through human error; reports commonly represent somewhat different information than
they appear to; and there is always an incomplete picture. Such a situation is untenable in
the context of staffing constraints, the vast volume of revocation proceedings, and the
need to gain the confidence of the Court and Plaintiffs in the actual ‘services being
delivered as well as the ability to demonstrate them,

Several of the data absences or inconsistencies are described in sections below,
and it is not worthwhile to provide a complete catalogue. As a general matter,
Defendants’ systems cannot, yet need to, demonstrate the amounts of time when cases
exceed timelines. In reporis of percentages, there should also be absolute numbers for the
numerators and the denominator, and the denominator should be clearly defined. At a
minimum, each report should define the headings and have a description of what is
included and excluded. There must be an ability to report parallel information for
excluded cases, even if ultimately they will be treated differently for compliance
purposes. As to demonstrating that effective communication was provided to members of
the Valdivia class, and demonstrating compliance on any other issues common to the

Valdivia and Armstrong remedies, information system changes should be coordinated

with those underway pursuant to the Armstrong court’s order, to avoid unnecessarily

duplicative or contradictory effort, and so that the changes serve the purposes of both
remedial plans, .

In Plaintiffs’ “Response to Defendants’ Compliance Report,” Plaintiffs detailed
many data points and questions they see as necessary to a complete analysis of
information offered by Defendants and of compliance. In many instances, the Special

Master’s team has held a similar view. Some of the requested information has been

2: 29. v-00520-KJM-SCR,_. Document 2242-3 _ Filed 05/24/07 Page 26 of 93
Case v-00671-LKK-GGH Document 1302 — Filed 09/14/2006. Page 8 of 64

R_ Document 2242-3 _ Filed 05/24/07. Page 27 of 93
GH Document 1302 Filed 09/14/2006 Page 9 of 64

available to the Special Master, and has been taken into account in reaching conclusions;
. in several other cases, it is appropriate to note where information must remain incomplete
for the time being and defer an assessment until the. data systems’ capabilities are
enhanced, which will be the subject of a Recommendation of this Report.

At the outset of this section, I noted that Defendants operate several systems.
DAPO maintains the Cal Parole system, which reportedly contains some information that
ultimately may have some bearing on some aspects of Valdivia. The Special Master’s
tcam will be briefed on that system's capabilities in the coming Round. The Institutions
Division reportedly does some tracking for revocation extensions and workload impact
for transportation, escort, and security provision. CalPAP maintains very detailed
Valdivia-related computerized records and reports, sore with limitations similar to RSTS
and some that can report additional, important data and may already be able to produce.
some information that RSTS cannot. As long as Defendants continue to refine these
systems along the lines described, the Special Master has confidence that these systems

will serve well and will answer several open questions about compliance.

Remedial Order Requirements
In the section that follows, 1 discuss the parties’ contentions as to each major
component of the Remedial Order and the Special Master’s view of the status of
compliance, A few items are omitted as they provide specific guidance to ensure the
parties’ cooperation, which I believe is well established and does not require discussion.
With some requirements, as noted below, the Special Master does not have sufficient

information to make an assessment at this time, —

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 +=Page 28 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 10 of 64

The Stipulated Order for Permanent Injunction contains the following expectations:

Meet periodically regarding policies, forms, and plans; submit policies and procedures

fo the court no later than July 1, 2004 with full implementation by July 1, 2005

Plaintiffs and Defendants submitted policies and procedures to the court by the

date due, reserving those in dispute and indicating that continued negotiations would be
fruitful. They have done this routinely during the period of time leading up io the
Remedial Order and subsequent to it. A round of meet and confer meetings began in May
2006 to negotiate policies as yet not formulated or agreed upon. It is my observation that

both parties make sincere efforts to work toward responsible solutions.
* There is adequate progress on this requirement,

Appoint counsel for ail parolees by Return to Custody Assessment (RTCA) stage of
revocation hearing

The CalPAP contract with CDCR is notably one of a kind in the nation. Many
jurisdictions do not. provide attomeys at state expense for any level of revocation
hearmgs, Many other jurisdictions provide them for final hearings only or for unusual
cases (such as mentally ill or non-English speaking parolees), The CalPAP program was
established relatively quickly given the number of cascs being processed and the —
expansive geography being covered. The contract is a three-year contract, in effect until
July 1, 2007, CalPAP currently has more than 200 attorneys statewide, working in
conjunction with 11 regional offices, It also operates a detailed database with information

on Valdivia timeliness and many other facts of interest to observers. The program appears

10

Case 2:90-cv-00520-KJM-SCR Document 2242-3 _ Filed 05/24/07, Page 29 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 ° Filed 09/14/2006 Page 11 of 64

to be well-managed and is arguably a model program providing consistent representation
statewide.

The Defendants have made continuing progress in improving the notification
process, the delivery of revocation packets, and the identification to CalPAP of the
parolee’s location. Analyzing percentages since June 2005, and absolute numbers offered
for 2006, Defendants and CalPAP show dramatic and sustained improvement associated
with almost every CalPAP regional office. A few showed fluctuation, but none showed
substantial backsliding or stagnation for any sustained period.’ In order to assess
substantial compliance, future reports should capture the amount of time to appointment
for cases where an attorney was appointed beyond the Injunction’s deadline and, at least
periodically, an assessment of the. reasons,

Data indicate that the number of “late” appointments remains unacceptably high,
though there has been significant improvement over time. Additionally, Plaintiffs and
CalPAP note that sometimes the packet arrives incomplete at CalPAP. As they point out,
these practices make it difficult to appoint an attorney in a timely manner. The appointed
attorney then may have difficulty requesting expedited hearings, anticipating
accommodations for disabilities, and identifying and producing evidence. Delayed
information also results in increased numbers of “add-on” probable cause hearings,
limited time for the parolee to consider Return to Custody Assessment offers, and a
possible increase in parolees feeling they must request time waivers.

Two key solutions have been proposed for the problem of untimely appointment
of attorneys. One is to have a full electronic exchange of materials. The CDCR

information systems do not have the capability or capacity to do that at this time.

1]

Case 2:90-cv-00520-KJM-SCR Document 2242-3 _ Filed 05/24/07 Page 30 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 12 of 64

Defendants have been exploring this option but have encountered numerous hardware
and other system obstacles to adopting this technology. They reportedly continue to
attempt to address these barriers and have a pilot planned for late 2006. Additionally,
CalPAP attorneys note the need for learning hearing dates sooner so that CalIPAP may
appoint attorneys more timely.
CalPAP provided, and provides, (with assistance of both parties) initial and
ongoing training for the contractual attorneys. The curriculum includes revocation
procedures, Remedial Order requirements, evidence law, and Americans with Disabilities
Act accommodations. Plaintiffs participated in designing the curriculum and have
_ expressed approval for some training sessions and reservations about the quality of
others, CalPAP has established quality assurance measures, including evaluation forms
for parolees to fill out and an attorney evaluation system.
Interviews with line parole officers and supervisors raise a related issue about
legal representation. Alihough some indicate that they feel disadvantaged due to the
parolee having legal representation while they-—the parole officers—do not, this did not

appear to be a major issue for most officers interviewed.

* With the exception of some tardiness. in appointing attorneys, principally
because. of delays in Defendants providing information to CalPAP, it
appears that the program is generally successful. Given the relatively short
period of time the CalPAP program has been in existence, the huge
geographic area it covers, and the large numbers it serves, the program has

been extremely successful in providing representation at the critical levels —

12

Case 2:90-cv-00520-KJM-SCR Document 2242-3 _ Filed 05/24/07. +=Page 31 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 13 of 64

O

of the revocation process. The CalPAP program has been a critical

component of the Defendants’ progress to date.

Expedited probable cause hearing shall be held upon. sufficient offer of proof that there is
a complete defense to all charoes

Policies are in place requiring expedited probable cause hearings based on the
Deputy Commissioner finding sufficient the offer of proof that there is a complete
defense to the alleged violations. Plaintiffs have raised concerns about whether this
process is functional,

Expedited hearings have been requested rarely, with CalPAP indicating that
essentially eight such hearings were held between March 2005 and February 2006.
Hearing or review was handled within two days of the request. In total, four cases appear
to have been resolved significantly sooner than in usual operations.”

The timelines of the Injunction, as they are designed and implemented, leave
limited time for a heating to be expedited after an attomey has been appointed. In those
cases where the attomey appointment is late and/or the packet incomplete, this
opportunity is further limited. Plaintiffs have suggested that there should be a mechanism
by which a parolee could initiate consideration of an expedited hearing sooner than the
time that his attorney is appointed and makes contact with the parolee. I encourage

exploration of such a mechanism,

e The Special Master will continue to monitor this.

13

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 + Page 32 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 14 of 64

The parole officer and supervisor will confer within 48 hours to determine if probable
cause exists to continue a hold

In order to comply with other time frames, il appears that this requirement is
being met in most instances (93% over an eight-month period, with the exception of
extradition cases), Compliance remained at essentially the same level throughout that
time, with no improvement noted.” Plaintiffs express concer that Defendants do not
provide information regarding the degree of lateness and that the average number of days
of lateness has increased.” The Special Master agrees that this information is significant
in determining substantial compliance.

RSTS reflects some imformation about the decisions made at this stage, but it is
not fully clear, CDCR maintains that the difference between the number of Probable
Cause Determinations and the number of Notices of Rights served equals the number of
individual parolees who are not continued in the revocation process, Reviewing the
system, however, the numbers and the reasons for dropping holds are not fully
discernible,

Interviews of parole supervisors and agents indicate that the results of this
consultation are highly dependent upon the philosophy of the parole supervisor, Some
supervisors have strong beliefs that remedial sanctions and other alternatives to
revocation should be invoked, while others do not believe in the efficacy of such
programs. Nat surprisingly, the approach to use of remedial sanctions by agents is highly
influenced by the philosophy of their supervisors.

At a stage earlier than activity reflected in RSTS, data from Cal Parole show that
about one-fourth of the events potentially involving violations are handled by parole

agents directly without a hold ever being placed, Parole agents report they rely heavily on

14

Case 2:90-cv-00520-KJM-SCR_ Document 2242-3 _ Filed 05/24/07 Page 33 of 93
Case 2:94-cv-00671-LKK- GGH Document 1302 Filed 09/14/2006 Page 15 of 64

DAPO and community-based programs that are outside of those named in Valdivia orders
and do not require BPH approval for placement. Once the Valdivia process is begun by
the hold being placed, data show that about one-quarter of holds are released after parole
agents recommend it and it is ratified at the agent/supervisor consultation.” Some data
reflect patterns by parole region that are consistent with ideas about the influence of
personal philosophy. In terms of continuing on parole or dismissal, for example, for each
region, the percentage of holds with this outcome remained fairly constant month to
month. Moreover, while most regions showed percentages in a range similar to each
other, one consistently released holds through these mechanisms twice as much as the
other regions.”!
Most placements in remedial sanctions recognized in Valdivia orders are initiated
“by the agent or during the agent/supervisor consultation. . Policy requires BPH staff to
_ approve placement in the ICDTP program, so among programs currently reported as

remedial sanctions, only placements in EID could be disposed of at this step.”

« Substantial progress has been made regarding the parole officer and
supervisor meeting within the Valdivia time frame. More information is
needed to assess the results of this consultation and its impact on the both

referral to and use of remedial sanctions.

If the hold is continued. the parolee will be served actual notice of rights, with a factual
summary and written notice of rights, within 3 business days

Defendants’ data system is set up to report any timely good faith attempt at

service as completed timely, even when the successful service was beyond required

15

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 34 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 16 of 64

timeirames. Defendants acknowledge that this practice is not supportable, CalPAP data
provide more complete information, though reports do not include information on a few
categories of cases,

Analyzing only the acknowledged late notices in seven months of data from both
sources, no DRU showed much improvement. Most fluctuated, understandably, and a
few — California Institution For Women, Valley State Prison for Women, and the Los
Angeles County Jail ~ worsened on this task over time.”" Plaintiffs have also raised
questions about the reliability of the data in that their field observations, at some
institutions, suggest a higher frequency of problems.

More information is needed to clarify the frequency of service actually completed
timely and to explain the “late” serves and the reasons for the “lateness” before an
agreement on a standard for substantial compliance can be reached. Certainly there are
instances in which the Defendants may be appropriate in not meeting this timeline, such
as iltness on the part of the parolee or other unmanageable situations. The definition of
unmanageable becomes critical in pursuing substantial compliance.

In a smaller number of cases (668 in seven months), it appears parolees were
never served. While several DRUs showed one or two per month, about half showed |
substantially more, with Los Angeles County Jail (241 total) and California Institution for
Men (122 total) at the upper reaches. California Institution for Men, Deuel Vocational
Tnstitution, Los Angeles County Jail, and Santa Rita County Jail were much improved in
this regard.

Plaintiffs have also raised a number of concerns about whether the quality and

conditions of service compromise the effectiveness of the notice and ability to formulate

16

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 + Page 35 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 17 of 64

a defense. For example, Plaintiffs express concem over the quality of the Notice of
Rights documents. To substantiate those concerns, they state that, “...in some cases the
charge sheet is missing...” and indicate they have observed many. They provide a listing
of five cases that exemplify insufficient statements, and some individual case examples
of “...charges added after notice...” and “,.,supplemental charges added...” Other
examples discuss deficiencies in the processes for assessing and documenting disabilities
and effective communication, Plaintiffs have also criticized the practice, in at least three
institutions,” of notice agents asking parolees to sign waivers before an attorney has been
appointed, while Defendants describe a number of situations in which they say the
practice is acceptable under law and is common practice.

Although each of the noted concerns appears to illustrate a problem, there is no
indication of whether they are widespread among the thousands of cases processed,
Likewise, these vignettes do not necessarily signify a chronic problem. They do signal

the need for further investigation.

* Significantly more information and fine-tuning are needed to satisfy this

requirement.

Final hearing within 35 days of the placement of the parole hold

Defendants have concentrated much of their efforts on this requirement and have
made exceptional improvements. Starting from a 59-day average to hearing before the
Remedial Plan, Defendants have invested tremendous resources and thoughtful,
coordinated planning, oversight, and troubleshooting to reach the point where a large

majority of revocation hearings are held by the required time. As described above, the

17

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. Page 36 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 18 of 64

exact percentage of timely hearings is uncertain because significant categories are not
included in the data, but performance is strong. There are also many fewer hearings held.
Before the Remedial Plan, data commonly show 2,000 hearings per month. In the most
recent months, hearings dropped to a range of about 1,000 to 1,250." Defendants attribute
this to encouraging négotiation about terms and charges, and resolving cases at or before
the probable cause hearing.

There are certainly cases where the Injunction’s timelines are not met.
Considering the volume of actions handled, even a small percentage of noncompliance
means there are numerous instances of individual cases exceeding this agreed-upon
timeframe, for a variety of reasons. Certainly some reasons for delay are for good cause,
in some instances to the parolee’s benefit. Observed patterns in reasons fot delayed
hearings include parolees subject to extradition from other jurisdictions or those thought
lo be medically or psychiatrically incapable of participating. Parolees ask for extensions,
and hearings are postponed for unavailability of participants or for accommodations of
disability. There may be supplemental charges discovered later or the parolee may be
returned to the process if rejected from a remedial sanction program. Hearings may be
held later because the parolee is not in custody or because the charges are sufficiently
serious and violent that a choice is made to hold the hearing late, rather than releasing the
parolee, when it becomes clear that the timeline won't be met,

The parties agree that there are categories of cases where extended times to
hearing are necessary, They have not yet decided on mechanisms to ensure that those
hearings are initiated in a reasonable time. They also have not decided on the timelines

that should apply. A case in point is the optional waiver, the process by which a parolee

18

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. += Page 37 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 19 of 64

may waive Valdivia hearings while criminal charges are prosecuted, with an option to
reactivate the revocation process at a later time. Since a waiver is invoked after some of
the Valdivia steps have taken place, the parties are negotiating how long Defendants have
to complete the process afier a parolee reactivates it. Certainly, a revocation hearing must
take place within 35 days of reactivation. The parties are making reasonable progress in
determining whether Defendants should be held to timeline shorter than that.

The frequency of occurrence and the length of delay for the above-described
reasons are open questions to be documented and analyzed. The acceptability of many of
these reasons is hotly contested.

There is a different category of cases that is inappropriately handled, sometimes
referred to as ‘partial cases.’ These hearings are generally initiated timely. In them,
however, a parolee’s parole is revoked on the basis of some of the charges, while others
are deferred for a second hearing in the future. This practice cannot be continued
consistent with Defendants’ obligation to provide a final revocation hearing by the 35-

day point,

Some facilities have improved more rapidly and maintain greater success at
regularly meeting revocation hearing timeframes than others, though the distinction
narrows to a few percentage points once the process reaches this step. In CalPAP data,
the most improvement in timeliness is visible in the regions associated with CalPAP
offices designated as California Institution for Men, Los Angeles County Jail, RJ.
Donovan Correctional Facility, High Desert State Prison, and Wasco State Prison. A few

. Others fluctuate, and only Pitchess Detention Center appears to be stagnating at a lesser

19

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 38 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 20 of 64

level.” In the most recent months provided, CalPAP data show a modest but continuing
decline that bears continued observation.“

CalPAP’s most recent data -- the period of June 1 through june 30, 2006 - show
that, of the 1,105 final revocation cases reviewed, 1,064 were in compliance with
expected timeframes (96%) and 41 were not in compliance. Of the 41, 7 cases were late 3
days or less. CalPAP’s data show 99.45% of the cases closed that month —~ whether
through accepted offers, accepted dispositions at probable cause hearings, or revocation
hearings -- were completed within 35 days." For the reasons discussed above, these
figures do not capture certain categories of cases, so they do not give the full compliance
picture. However, they serve to illustrate, in general terms, the strength of Defendants’

work on this requirement.
¢ Overall, there is very good progress on this requirement. Substantially
more information is needed to fully assess this issue.
Final revocation hearings are to be held within 50 miles of the alleged violation

* The Special Master did not review this topic during this period, but will do

\ .

so in upcoming periods,

By July 1, 2004, an assessment of availability of facilities and a plan to provide hearing
space for probable cayse hearings

The Defendants have accomplished a great deal in a relatively brief period of
time, They report that probable cause and final revocation hearings have been held in

more than 100 different locations statewide.

20

Case 2:90-cv-00520-KJM-SCR_ Document 2242-3 _ Filed 05/24/07 Page 39 of 93
Case 2:94-cv-00671-LKK-GGH. Document 1302 Filed 09/14/2006 Page 21 of 64

To accomplish this, Defendants created 13 Decentralized Revocation Units (nine
at CDCR reception centers and four on a contractual basis at high-volume county jails).
They arranged, and in some instances contracted, for space for attorney interviews and

_ hearings. New construction was necessary in many of the county jails, Defendants
arranged for access to, or installed, telephone and fax lines in jails in 57 of California's
58 counties. Special arrangements had to be made with the CDCR transportation unit to
transport parolees from county jails to the appropriate DRUs, and this is how hearings are
managed in the one remaining county where Defendants do not have access to phone
lines, Given the difficulty in negotiating with 58 units of government, the CDCR has
done a remarkable job of pursuing this requirement.

During the month of August, the Los Angeles County Board of Supervisors
decided not to continue the contract with CDCR for jail beds for inmates. The present
contract ends in January 2007. That loss would probably not affect the number of
parolees being held pending revocation who also have concurrent pending crimimal
charges, as the county would be bound to continue to hold them until the new charges
were resolved. Reportedly, Los Angeles County Jail is willing to continue to hold
parolees pending revocation for the period of time it takes to complete the revocation
process-—but only up to 35 days. CDCR staff indicate they are working on a contingency

plan to house those parolees if the negotiations change from the present plan.

_ © Defendants appear to be compliant with this requirement.

21

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 40 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 — Filed 09/14/2006 Page 22 of 64

By July 1, 2005, probable cause hearings shall be held no later than i0 business days

after service of charges and rights

With this process that has been in place for a shorter time than other components

of the Injunction, Defendants have shown marked improvement,

Plaintiffs and Defendants have differences of opinion as to the number of days
required from the placement of the hold to the probable cause hearing and the timing for
cases subject to optional waivers or a parolee’s request for postponement. Plaintiffs and
Defendants disagree on the interpretation of the “...no later than 10 business days after
service of charges...” clause, Defendants interpret it to mean 13 business days after the
hold is placed (the maximum time allowed for service plus the maximum time from
service to hearing named in the Injunction) — largely to preserve the quality of the
investigation, because of practical obstacles presented by negotiated time parole agents
have to complete reports, and because of the extraordinary expense in reprogramming the
‘computer system to accommodate variable times -- while Plaintiffs are calling for a literal
interpretation of the janptiage.

Based on the measurements using Defendants’ timeline definition, the great
majority of cases receive timely probable cause hearings and there has been continuing
improvement over time.”” There is insufficient information to make any assessment
according to Plaintiffs’ definition. In any event, precise numbers are uncertain because
some factors make timeliness appear better than it is, while other factors probably under-
represent timeliness.

On the positive side for Defendants, the Special Master’s initial review of raw

data indicates that some compliance figures are likely better than they appear because a

22

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 ~+=Page 41 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 23 of 64

significant number of timely hearings were incorrectly counted as untimely in the system.
However, the data probably present an overly optimistic picture, Plaintiffs argue with
some merit, by including relayed phone conversations as completed hearings. Also,
Plaintiffs and the Special Master’s team have identified some cases with internally
contradictory information, so those cases’ timeliness is in question.

A much greater amount of information is unknown and could skew the data in
either direction depending on its volume. ‘As described above, the data do not capture
potentially large categories of information. There are also an unknown number of
hearings that were skipped but recorded as completed because, during the reporting
period, RSTS required such an entry to be able to record the next procedural step;
Defendants note that this practice actually operated to their detriment, All of these
factors leave timeliness totals with great uncertainty.

The highest percentage of untimely cases occurs at the women’s facilities (Central
California Women’s Facility, Cali fornia Institution for Women, Valley State Prison for

. Women) and, not surptisingly, at those facilities with the highest volume of hearings (Los
Angeles County Jail and California Institution for Men).*”

The greatest improvements are seen at California Institution for Men, Los
Angeles County Jail, North Kem State Prison, R.J. Donovan Correctional. Facility, San
Quentin State Prison, and Wasco State Prison. A few DRUs’ timeliness fluctuates, but
there is no sustained backsliding apparent.”

A variety of reasons for the untimely hearings is apparent, at least some of which

are for good cause. However, it is presently impossible to determine the numbers

attributable to good cause and those caused by factors that need to be remedied. As the

23

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 + Page 42 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 24 of 64

data appear currently, the length of time, at least for some cases, is troubling, with
averages up to 43 days, and much longer for extradition cases. Those institutions having
the greatest difficulty in this regard are Central California Women’s Facility, High Desert
State Prison, Santa Rita County Jail, Valley State Prison for Women, and Wasco State
Prison." The data are also not able to demonstrate, without unreasonable effort for the
Defendants, how ofien untimely cases occur close to, or remote from, the deadline--a
significant question.

There is also substantial disagreement about whether probable cause hearings may
be conducted by telephone while preserving due process rights. When Defendants
initiated probable cause hearings, a substantial number were conducted by telephone as
an interim means of meeting the requirement. Too many were not hearings at all, but
serial conversations with the parolee’s attorney conveying information between the
Deputy Commissioner and the parolee (so-called “cell phone hearings”). Defendants
phased in a plan of providing hearings with the Deputy Commissioner connected by
phone to the parolee and counsel in a room with access to telephone translation service
and a fax machine for any documentary evidence. The Special Master’s team understands
that, as of April 2006, all locations have access to this arrangement or in-person hearings
and the seria! conversations method has been eliminated.

Defendants are operating, and propose long-term, ta conduct hearings by
telephone in 29 counties in which the hearing volume is so Jow, or the distance to be
traveled so great, that in-person hearings are thought to be too burdensome. The Special
Master’s data review indicates that this involves fewer than 200 hearings per month

(commonly about 3% of the hearings held)."”" Defendants propose to offer such parolees

24

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 43 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 25 of 64

the choices of a telephone hearing or an in-person hearing with the understanding that the
latter might be provided as much as five business days after itis requested.

Plaintiffs have expressed strong reservations about this plan, noting the barriers to
Deputy Comimnissioners’ ability to assess parolees’ testimony and credibility in the
absence of nonverbal communication and limits on how effectively parolees with
psychiatric and communication impairments express themselves over the phone.
Plaintiffs are concerned about complications in presenting live witness testimony. This
topic reportedly was the subject of previous party negotiations; the results have been
described in differing ways which have not yet been reconciled to the satisfaction of the

Special Master. Plaintiffs also note that observed practice in the field is not always

consistent with policy, with lack of familiarity and individualized decision-making

preventing the plan from being realized as intended and potentially compromising
parolees’ rights.

Both partics assert that case law supports their positions. CalPAP leadership
indicates it believes the telephone method satisfics due process, particularly with the
representation by an attorney.

The Special Master is mindful of the concems raised by all parties and is
concentrating monitoring efforts on this topic. A conclusion is premature at this time, but
I anticipate completing an assessment and working with the parties on this issue during

the next Round. |

« There is adequate progress toward compliance on probable cause hearings.

Substantially more information is needed to fully assess this issue.

23

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 44 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302  Filed-09/14/2006 Page 26 of 64

Complete implementation of policies and procedures by July 1, 2005

Although policies and procedures have not been implemented completely, there
has been substantial progress toward this goal, Defendants and Plaintiffs continue to meet

and confer on those policies and procedures in dispute,

* There is adequate progress on this requirement.

Counsel shall have timely access to all non-confidential reports, documents, and field
files; if additional evidence that the State intends to rely on is identified after attorney
appointment, the evidence shall be provided to the attorney as soon as practicable before

the hearing

Access to non-confidential information has been the subject of lengthy dispute,
litigation, and negotiation. While much of the dispute has been resolved in principle, the

parties continue to work through issues in the application of the agreements, which are

still new and unsettled. Policies and procedures on-point remain in negotiation with some
subsections hotly contested. .

CDCR has conducted staff trainings. It developed and implemented policies to
allow CalPAP attorneys access to the complete revocation packet, with some redaction,
: and access to the parolee’s field file either at the parole field office or through the Deputy
Commissioner at the hearing, Plaintiffs have observed instances of redaction of what they

describe as non-confidential information and note at least one institution where local

policies appear to vary from the central policy, raising concerns that local practices may
more broadly undermine implementation of this requirement. Defendants indicate that
they recently clarified a field directive to address concerns Plaintiffs raised. Defendants

acknowledge the need to change a DAPO policy that allows parole agents to redact any

26

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 45 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 | Filed 09/14/2006 Page 27 of 64

witness’ name, and they assert that they have drafted a revised policy. Plaintiffs express
doubt as to whether CalPAP attorneys review field files sufficiently often. There is also a
question about whether review during the hearing is sufficient for preparing a defense.

In. terms of providing evidence identified after attomey appointment, neither
Plaintiffs nor the Special Master have knowledge of whether there is policy and

procedure and how this is operating in practice.

® The Special Master did not review this topic during this period, but will do
so in upcoming periods,

Defendants shall develop and implement policies and procedures for designation of

information as confidential consistent w/ requirements of due process
The parties previously sought orders in this area, with particular emphasis on
access to mental health records and criminal identification and information sheets, As
discussed above, policies and procedures remain in negotiation. A protocol for access to
mental] health records reportedly remains in draft form more than a year after the Court’s

order.

e The Special Master’s team did not assess, during this term, the success or
any remaining issues related to this requirement, but will do so in

upcoming periods.

27

,

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 46 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 28 of 64

. Defendants shall develop training, standards, and guidelines for state appointed counsel

Defendants developed, along with CalPAP staff and Plaintiffs’ attorneys,
standards and guidelines with commensurate training packages. Plaintiffs call for a few
additional topics to supplement the existing standards and guidelines.

The Special Master is informed that all CalPAP attomeys have been trained prior .
to their representing parolees, and receive continuing training from McGeorge Law
School staff. CalPAP staff have developed a training video for new attorneys, and when
enough new attorneys are available, they participate in a three-day training session that
includes leclures, mock hearings, and other activities, All new attorneys attend hearings
with a “mentor” before. they represent parolees at hearings themselves, CalPAP staff
attorneys investigate complaints from parolees regarding the attomeys, monitor through
their information system the timeliness of attorney actions, and sit in on hearings to
observe the attomeys’ performances. Some attorneys who have been found to be lacking
in ability or attentiveness have had their contracts cancelled, and some others have
received remedial training.

- It is equally important that the standards, guidelines, and features of the current
program structure be sustained. The parties are engaged in meet and confer sessions
designed to memorialize the functions and processes essential to administering this
program and to providing effective representation to parolees. As the parties are
discussing, the standards should encompass expectations for attomey selection, ongoing
training, and quality improvement. They must provide for staff in sufficient numbers and
with sufficient qualifications to coordinate regionally and statewide, oversee attorney

activities, provide guidance on evolving issues and policies, perform quality control,

28

Case 2:90-cv-00520-KJM-SCR Document 2242-3 - Filed 05/24/07 Page 47 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 29 of 64

provide flexible response to changes, and coordinate with CDCR and county jail
operations. They must provide sufficient staff for clerical support to manage and
distribute parolee information, communication, and documents on a grand scale; issue
subpoenas; track information; and coordinate a variety of activities, Attorney,
administration, and clerical staffing levels should be calculated based on known workload
demands, anticipated growth, and regional distribution. Standards should define sufficient
information systems and other infrastructure sufficient to carry out all of the above
functions and others likely to arise. Administrator involvement in CDCR’s policymaking
and internal oversight has been invaluable and should be continued.

The Special Master strongly encourages the effort to define and establish
standards for attorney panel administration and parolee representation, as it is so central

to the Valdivia remedies.

* There is adequate progress on this requirement, -

Defendants shall assure that parolees receive effective communication throughout the

Process

The responsibility for identifying and/or accommodating the special
communication needs of parolees, and communicating those needs sequentially through
the revocation process, lies with:

the parole agent of record

the Field Unit Notice Agent or Decentralized Revocation Unit Notice
Agent

the CalPAP atlorney representing the parolee

the Deputy Commissioner holding the probable cause hearing

the Deputy Commissioner holding the final revocation hearing

WW¥Y¥Y wy

29

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. Page 48 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 30 of 64

® the parolee him- or herself

The required process includes a review of the field file; completion of specific
forms and attaching documentation of the nature of the need; a review of possible
disabilities and assessment of comprehension difficulties with the parolee at the time of
serving the notice, with related documentation; a notification of any disabilities to the
attorney; a review by the attorney; and further review by the Deputy Commissioners at
the probable cause and final revocation hearings.

Problems noted. by Plaintiffs include failures to timely refer to source documents

substantiating need; to use translation assistance, including sign language, for notice
‘service; to properly assess and record relevant iniformation: to transmit relevant
information, including source documents, to the appointed CalPAP attomey or to provide
it on a timely basis; and in the Deputy Commissioner’s review of the parolee’s
accommodation needs at one or both of the hearings.

There is little tracking available to document whether. accommodations were
provided when needed. The Special Master understands that the Armstrong court found
in recent months that CDCR’s tracking systems are inadequate in this regard, and that the
court found this results in systematic failures to provide effective communication to the
population with those special needs, a finding that clearly has relevance to a
determination of whether the effective communication requirement of Valdivia is being
met.

_ The Special Master has not been informed of any source tracking whether
effective communication occurred during notice. CalPAP data provides a window into

: . soos . C '
two discrete aspects of effective communication. CalPAP examines attorney-client

30

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 49 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 31 of 64

interviews and tracks whether translation, including sign language, is provided, In that
particular report, recent months show occasional lapses, particularly with sign language;
there is insufficient information to determine the scope of the problem. Additionally,
CalPAP says it collects attomey reports of instances when the attorney identifies a
previously unrecognized need for accommodation, and occasions when an identified
accommodation initially was not provided, including the amount of time required to
remedy that,

The Special Master’s team observed thoughtful assessment by hearing officers in
probable cause and revocation hearings at several institutions, but the team has not yet

fully examined these issues,
* The Special Master has insufficient information to assess this issue. The
team will continue to review it in the coming Rounds.

forms provided to parolees are lo be reviewed for accuracy, simplified, and translated to
Spanish

Defendants indicate they have revised and simplified the forms used in the
revocation process and have recently revised them further, although at least the Spanish
language forms are not finalized and have not been put to use. Plaintiffs have remaining
concems about whether those revisions are adequate and whether expert assistance is
required, and they assert that they have not seen alternative formats and Spanish-
language translations. Both parties note an ongoing difficulty in that older versions of

forms sometimes remain in use in the field.

3]

Case 2:90-cv-00520-KJM-SCR:' Document 2242-3 Filed 05/24/07 Page 50 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 _ Filed 09/14/2006 Page 32 of 64

* This issue bears further monitoring.

Upon written request, parolees shall be provided access to tapes of revocation hearings

Logs mdicate that Defendants received 535 tape requests in 2006 and that the
great majority (76%) were answered within two weeks, with all but a handful answered
within a month. The outliers only took up to 10 days longer, although it appears that
about 4% were not sent a response. There are, however, some inconsistencies that call
some of these figures into question, Defendants state that presently there is no backlog in ~
responding to such requests.

Plaintiffs have not quantified their concerns for the Special Master but describe
recording quality problems and delays in receipt as persistent. Logs suggest problems are
rare, with only two recorded cases of replacing tapes for poor quality and 16 occasions
when Defendants were unable to produce a tape, almost always because a several-year-
old hearing tape had been purged or it was a type of hearing that is not recorded.

Plaintiffs also are concerned that, unlike most other areas, Defendants apparently have

not begun generating policies and procedures for this Injunction requirement.

* There is adequate progress on this requirement. Substantially more

information is needed to fully assess this issue.

Parolee’s counsel shall have the ability te subpoena and present witnesses and evidence
under the same ternis as the State

Th February 2006, CDCR developed and implemented a policy that allows
CalPAP attorneys to subpoena witnesses on behalf of parolees, CalPAP assumed

responsibility for the process m early 2006. Plaintiffs point to a number of practices as_

32

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 51 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302. Filed 09/14/2006 Page 33 of 64

obstacles to witness subpoenas and presentation, as well as presenting parolees’ evidence, -
and thereby treating it as on terms unequal to the State.
e The Special Master’s team did not assess this requirement during this

term, but will do so in upcoming periods.

At probable cause hearings, parolees are to have the ability to present evidence to defend
or mitigate the charges or proposed disposition

CDCR policies require the Deputy Commissioner to allow the parolee and the
parolee’s counsel to present evidence to refute or mitigate the charges, and to show why
incarceration may not be necessary. This was accomplished well in the hearings the
Special Master’s team observed.

Plaintiffs have raised concerns that each of the following may compromise
parolees’ ability to present evidence: untimely notice of charges, untimely attorney
appointment, redaction of documents used in revocation proceedings, times when
parolees are not permitted to be present in the heating, telephonic hearings, “cell phone

hearings,” and times when hearing officers may exercise their discretion inappropriately.

» This bears continued monitoring.

Heursay evidence must be limited by parolees’ confrontation rights under controlling
law. Defendants are to preserve this balance in hearines and te provide case law-based

guidelines and standards,

Defendants developed policies and procedures regarding Comito and provided
training for the Deputy Commissioners and parole field staff. Plaintiffs assert that

training content was flawed, that ongoing oversight is insufficient, and that this results m

33

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. + Page 52 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 34 of 64

inconsistent application of the Comito standard. CalPAP, similarly, has disagreed with
how Comito is applied. Defendants acknowledge the need for further training and
guidance, and those plans are noted below.
Interviews with CDCR parole agents. and supervisors reveal that many
uncertainties and misinformation regarding hearsay information and Comito requirements
remain. They also indicated that Deputy Commissioners’ application of Conzito varies
depending upon their background and length of tenure, believing that less experienced
Deputy Commissioners apply it too strictly, inappropriately limiting parole agents’
speaking in hearings and excluding valid information. Parole agents and supervisors say
they find the variation in how the standard is applied confusing and frustrating.
Defendants report plans for detailed guidance, in the form of a scripted template
to follow in each hearing where such an objection is raised, and further training for
existing Deputy Commissioners and new hires. Plaintiffs’ counsel and Defendants also

met in 2006 to negotiate changes in policy.

* The Special Master will continue to observe this issue.

On or before the fourth business day, the Parole Administrator shall review the packet to
determine whether the case is sufficient to move forward and whether remedial sanctions
_ may be appropriate

Although the dates and results of Parole Administrator action are recorded in the
data system, neither is the subject of a report that could demonstrate compliance,
remedial sanctions referrals, or trends. Plaintiffs also assert that more recording is

necessary as parolees’ attorneys and BPH staff need the benefit of the Parole

34
Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 53 of 93 ©
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 35 of 64

Administrator’s thinking when they are formulating a defense or assessing terms or
remedial sanctions.

ICDTP referrals, and many possible EID referrals, must be approved by BPH.
California Administrative Code, title 15, section 2616, delineates a long list of offenses
and behaviors that must be reported to BPH. If the paroles’s alleged violation or prior
crime is identified in section 2616, the Parole Admini strator must refer to BPH, so most
recommendations are not actually disposed of at this step. How many potential cases —
might not require reporting to BPH requires further exploration.

The Special Master’s team has undertaken a study of trends apparent in a
statistically significant sample of cases, which will likely include impressions of Parole

Administrator functions.

« This topic bears further monitoring.

Defendants shall maintain staffing levels sufficient to meet all obligations under the
Order

Defendants assert that their allocated positions are sufficient to meet the Valdivia
mandates as long as some hearings by telephone are permitted. They indicate that they
used a detailed method to assess workload patterns to support the need for the positions
and to create a formula for staffing and further growth. Defendants have increased
staffing significantly each year of the implementation of the new revocation process and
large numbers of additional staff were requested and approved in the 2006-2007 budget.

The Special Master has not reviewed Defendants’ methods for determining the

sufficiency of staffing allocations to date. The Special Master’s team understands that

35

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 54 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 36 of 64

Defendants intend to conduct 2 workload assessment in the near future, and we will seek
. further information on that study’s methodology.

At present, vacancy rates are acceptable. After factoring in temporary coverage,
primarily by retired annuitants, the functional vacancy rate for all BPH Valdivia positions
is only 11%, Vacancies are not particularly concentrated by region or within any staffing
category, except among the highest leadership.” Institutions Division reports no
vacancies among its officers and sergeants supporting Valdivia processes, and DAPO
teports only 4% vacancies in Valdivia-specific positions, with alt confined to one staffing
category.

It seems that a problem is—and has been—filling and retaining staff in urban
areas due to high cost of living and in some rural areas due to lack of qualified applicants
or candidates considering the areas unattractive. Reportedly, the staffing category most at
tisk for being insuffici ent is Deputy Commissioner, the position responsible for Return to
Custody Assessments and, for holding hearings. Defendants have sought allocation
increases annually and provided coverage by retired annuitants and by redirecting staff
between regions.” Hiring additional Deputy Commissioners and providing an academy
for them is anticipated in summer and fall 2006. The greatest proportion of vacancies
appears at the highest leadership levels and, while they are covered by staff in an acting
capacity, this remains troubling.

Despite paying higher salaries than local probation, parole offices are typically
functioning with vacancies, Parole supervisors indicate there is no shortage of viable
candidates. Rather, departmental hurdles such as the length of time to complete the

background and medical review, which can take up to six months, and the lack of a light

36

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. + Page 55 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 37 of 64

duty protocol, substantially hinder hiring qualified candidates and filling temporary
vacancies. Moreover, if an Academy class comes available, supervisors report that lateral
transfers from institutions sometimes displace candidates who are in the review process
and may more closely fit the supervisors’ hiring priorities.

Plaintiffs’ documents indicate observed shortages in multiple locations, though
the number and (ypes are not always specified.

At present, it is not practical to assess whether Defendants’ workload-based
calculations, and subsequently funded positions, are adequate for fulfilling Valdivia
‘requirements. The Special Master has not observed any deficiencies that appear to be
caused or exacerbated by understaffing. Since sufficient numbers of staff, with
appropriate expertise and training, are critical to all aspects of compliance — and staffing
failures can derail compliance in dramatic and lasting ways -- the team will continuously

assess for signs that staffing is inadequate to the task.

e This bears continued monitoring.

Monitoring by Plaintiffs—reasonably necessary”

Plaintiffs and Defendants’ representatives agreed, following negotiations in April
2006, to-a monitoring schedule for the last three quarters of the year that includes fewer
and more brief monitoring visits by Plaintiffs’ attomeys, and more information provided
by Defendants to the Plaintiffs, the scope of which is being determined. Defendants will
also implement a trial model of self-monitoring. Defendants, during the last two quarters
of the year, will replace Plaintiffs’ monitoring teams with CDCR monitoring teams in

some locations, reporting results back to the Plaintiffs’ representatives and the Special

37

Case 2:90-cv-00520-KJM-SCR. Document 2242-3 Filed 05/24/07. Page 56 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 38 of 64

Master. At those locations, the Plaintiffs will spend one day at the site interviewing
parolees only, to assure continued representation of their clients.

1 observed the first self-monitoring effort at Santa Rita County Jail in July 2006,
The CDCR monitoring team appeared to do a thorough job of observing serves, probable
cause hearings, final revocation hearings, and the attendant paperwork. Members of the
team also traveled to the Hayward parole office and interviewed staff at all levels there to
examine the Valdivia-related processes. An advaniage of the self-monitoring process is
that the monitoring team members were able to make on-the-spot improvements or
enhancements as they observed the processes. Presumably, if the self-monitoring proves

to be successful, it can be expanded in future quarters.

* There is good propress on this requirement. The Special Master’s team

will continue to evaluate the self-monitoring.

Agreed-upon_ mechanism for addressing concerns regarding individual class members

and emergencies

Defendants investigate such concerns raised by Plaintiffs, CalPAP, and others
who may raise them, Defendants track only those complaints raised by Plaintiffs, and
summary documents™ indicate there were 400 such complaints in the preceding year,
and average response limes generally were well under two weeks,

Defendants found that slightly less than % of these complaints were unfounded.
The remainder generally were handled by acting to ensure that the requested action
happened, most commonly conducting overdue hearings, scheduling revocation hearings

after an optional waiver had been taken and reactivated, providing hearing tapes, and

38

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 57 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 39 of 64

releasing parolees when time had been served. Defendants assert that a large majority of
these cases had been discovered internally and rectified by the time they looked into
Plaintiffs’ complaints, and they do not recall any instance where a hearing had fallen
through the cracks and had not been scheduled by the time they investigated. A fairly
small number (about 7% of the total) resulted in dismissed charges when timelines had
been missed, with almost all such cases occurring by summer 2005.

Defendants determined that about 10% of the total complaints were outside the
scope of Valdivia, issues such as legal mail, county jail services, mentally disordered
offenders, civil addict hearings, housing in the appropriate facility, special conditions of
parole, time calculation, electronic monitoring, hearing officer neutrality, and extradition
and imterstate cases. With thesé complaints, Defendants report that they investigate or
forward the information to appropriate offices, but do not provide a response to Plaintiffs.
These complaints arc included in the totals reported as “resolved” or “unfounded.” It is
an open question whether each of these categories is, in fact, outside Valdivia.

The parties have had much less success in determining appropriate remedies, if
any, for individual parolees when a process fails. Counsel report extensive negotiations

with little progress.

‘® = «There is some progress on this requirement. The Special Master’s team

will likcly assist in negotiations in upcoming periods.

Appeals

All agree that the previous Appeals office’s processes were not timely enough to

be effective. That office was closed, although the current budget reflects positions

39

Case 2:90-cv-00520-KJM-SCR Document 2242-3 — Filed 05/24/07. + Page 58 of 93
Case 2:94-cv-00671-LKK-GGH Document1302 Filed 09/14/2006 Page 40 of 64

allocated for a new Appeals office. Defendants inform the Special Master that that office
will only teview appeals from prisoners with life sentences, .

Plaintiffs object to effects of the current system relying solely on state court
habeas petitions for any parole revocation appeals, They object that attomey
representation is not paid for, except for appeals on the basis that information was
inappropriately withheld as confidential. Plaintiffs raise the issues that the Aabeas process
ig also untimely, that state courts sometimes are not an option procedurally and
jurisdictionally, that state courts sometimes apply incorrect standards, and that treatment
of such writs can be a circular series of deferrals,

Defendants argue that case law states there is no Constitutional requirement to
provide any appeals process and neither does this Court’s Injunction require it. They
believe that the state court system adequately responds to writs of habeas corpus filed by
Valdivia class members,

The idea of finding CalPAP representation on air appropriately defined set of

writs is one that merits consideration.

® The Special Master’s team did not sufficiently review this issue, and focus

will be placed on it in upcoming periods.

Revocation Extension proceedings

All parties recognize difficulties with this process. Plaintiffs report observing
some CDCR classification staff serving revocation extension notices without following
all procedures, particularly those meant as disability and/or effective communication

protections, The staff also gave the impression they did not have sufficient knowledge of

40

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07. Page 59 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 41 of 64

Valdivia processes.” Plaintiffs are also concerned that there is no process to ensure that
the paroles is represented by the same attorney as in prior proceedings.

Defendants trained staff and CalPAP attorneys in revocation extension procedures
initially, though they note that they have not consistently provided follow-up training
when processes and requirements changed. They acknowled ge problems with notice and
other aspects of the extension process. They assert that they have a work group revising
policies and procedures, and they intend to subsequently retrain classification and clerical
staff and to review these issues during self-monitoring tours.

The Institutions Division reports that it developed a tracking program; Plaintiffs
say they have observed and been informed that the program is not operational. The
‘system has never been integrated with RSTS, and Defendants report an intention to add
revocation extension tracking capability to RSTS. Disagreements have surfaced about
whether Valdivia timelines apply given that the liberty interest may differ since the

parolee is already in custody.

* The Special Master’s team did not assess this requirement during this

term, but will do so in upcoming terms.

Remedial Sanctions

Pursuant to this Court’s June &, 2005 order, Defendants developed replacement
programs for the Substance Abuse Treatment Control Units (SATCU, ‘substance abuse
treatment) and Electronic In-home Detention (EID, electronic monitoring), The number

of spaces available for program participants has changed, as has the design of the

41

R.
GH Document Filed 09/14

programs. Further, staff do not fully make use of the beds available and they have never
approached full occupancy.

The original Electronic In-Home Detention program had 1,000 units, while the re-
designed program has 500 units. There were 996 jail beds available in the SATCU
program, The number of jail beds in the replacement program, ICDTP, is currently
264.0" Some of the ICDTP reduction is attributable to the program redesign, but most
tesulted from CDCR’s inability to interest counties in contracting for program services.

Since spring of 2005, none of the JCDTP beds have been available to the very
large parole populations ‘in the two Southern California regions, CDCR continues to
negotiate with several jails in Region IV (San Diego and environs) to develop an
additional 136 beds in that region, and with the Los Angeles County Jail for an additional
175 beds. The likelihood of the Los Angeles County beds coming to fruition is tenuous
given the recent actions of the Caunty Board to terminate state contracts for other beds.

The causes of the reduction in available program places in the substance abuse
treatment program include:

a. The elimination of the Substance Abuse Treatment Control Units
and the CCRC/Halfway Back program strained relationships with
several county jails. Jails that housed these programs were impacted
without notice by loss of revenue and disruption in staffing and
programs. This has made the establishment of programs that require
jail beds more challenging for CDCR.

_b, Compounding this challenge is the higher rate the federal
government will pay jails for bed spaces. The federal rate of
reimbursement of $100 per day is significantly higher than the
CDCR rate of $68.22 per day. Thus, jails sometimes choose to
contract with the federal agencies that reimburse at that higher rate.

c. The overall population of CDCR has increased significantly in

recent years. This population increase is also affecting county jails,
which house substantial numbers of CDCR-sentenced prisoners, as

42

Document 2242-3 _ Filed 05/24/07 _Page 60 of 93
1302 /2006 Page 42 of 64

Case 2:90-cy-00520-KJM-SCR Document 2242-3 _ Filed 05/24/07 _ Page 61 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 43 of 64

well as increased jail populations. Since the program is premised
upon using secure jail beds and there are fewer empty beds, it is
more difficult for CDCR to contract for ICDTP beds.

d. CDCR’s budget for drug treatment beds reportedly was cut in
half**"

The design of the current program is also responsible for a drop in usage for the

following reasons:

a. The number of exclusions is increased for ICDTP compared to SATCU.
Where SATCU only excluded certain sex offenders, the ICDTP adds eight
additional restrictions, including tuling out admission for any parolees
with violent felonies. Local facilities impose additional restrictive criteria,
For example, some local facilities will not accept members of certain

gangs.

b, Lack of a consistent assessment process leaves the referral decision largely
in the hands of the parole supervisor, and the amount of referrals
reportedly is tied to his or her correctional philosophy. Supervisors
promoting rehabilitation appear to encourage their staff to use remedial
sanctions and other community and DAPO sanctions prior to revocation.
Supervisors seeing punishment or incapacitation as more effective
teportedly do not encourage as any alternatives to revocation:

¢, The program was re-designed from a 30-day stay in secure custody to a
60-day stay in secure custody.“ The length of time for the aftercare
component has changed from 90 days of jargely outpatient services to a

' combined 30-day residential aftercare and 60 days of non-residential care,
The increased time in secure and community residential care has resulted
in fewer parolees being able to move through the program, so the beds are
not available as quickly for new referrals, Also, CalPAP attorneys and.
Defendants indicate fewer parolees are willing to accept these conditions
when recommended since the time they would serve in the program often
exceeds that which they would serve if simply returned to prison.

d. With SATCU, the parole agent could immediately place a parolee in the
program and it did not require BPH approval, which created preater
“parolee acceptance of this option. Depending on the jurisdiction, adding
BPH approval can result in moving a parolee from the local community
back to an institution for as long as four weeks. None of this time is
counted against the parolees’ term and, consequently, parolees change _
their minds about entering the program.

43

Case 2:90-cv-00520-KJM-SCR. Document 2242-3 _. Filed 05/24/07 _ Page 62 of 93
Cc : LK Document 1302 Filed 09/14/2006 Page 44 of 64

e. According to parolees and staff, the treatment modality of the drug and
alcohol program generally is not reinforced by the custodial staff in the
jail. ‘Thus, parolees who enter the program receive inconsistent messages
that inhibit treatment efforts and can contribute to program failure.

With the exception of some procedural issues, many parole staff who do use the
ICDTP program typically like it and believe it provides a needed service for parolees.
However, for others, one of the most significant impediments to successfiil
implementation is the way the program was created, Tt is viewed as having been created
by headquarters staff without regard to local needs. Reportedly, there was little input
from the field, no piloting in the field, and the current design is a single model to be
applied everywhere. Field offices handle different types of criminal behavior and vary as
to the number and quality of resources available. Recognizing this, field staff often cited
ways a modified program would better fit their environment. Allowing for variation
would likely result in greater program usage,

This program has also suffered repercussions from stopping and starting. In
program development, there is always a period of slower use until programs are fully
implemented, Part of this is putting systems, policies, and procedures in place and part of
it is gaining trust and belief in the programs on the part of the referring agents,
supervisors, and hearing officers. CDCR staff not only needed to mend relationships with
entities such as the county jails, they needed to re-educate and engage DAPO and BPH
staff. This is illustrated by Defendants’ occupancy figures, showing that, even with the
reduced number of beds available, it took several months of operation before more than

half of those beds were filled, and occupancy remains at slightly more than 80% for the

most recent month reported."

44

90-cy- -KJM- D t 2242-3 ~ Filed 05/24/07 _ Page 63 of 93
CASE 6S BGYOPBOSTI TKR GGH OBScuMeNt 4302 > Filed ba/14/5006 Page 45 of 64

The Special Master hopes these comments will serve as a guide as Defendants
redesign their Remedial Sanctions plan. —

The cause for the reduction in Electronic In-Home Detention units is less clear,
and program usage is extremely low. Several contributors are apparent. The program has
been redesigned to serve a higher risk parolee, and it requires significant effort for a
parole agent to put it in place. This is particularly unattractive for a sanction that will
temain.in place for only 45 days. The potential for the program is tied in part to the
nature of the local parole population. Few parolees meet the eligibility requirements in
large urban centers, as there is a highly transient parolee population and they rarely have
home-based telephones, a requirement of the program. In smaller communities where
parolees are more likely to live with a family with a home-based phone and a willingness
to modify phone service, the program is more applicable. This is an example where
greater regional variation would better serve program usage."

Generally accepted. information nationally has shown that such programs
normally result in increasing the number of revocations rather than serving as an effective
tool for reducing the need for them. Although conceptually electronic monitoring could .
be used as an alternative to incarceration, its potency is actually in making supervision
more stringent. This trend is evidenced in the use of electronic monitoring in California,
with parole agents and supervisors saying they use the units, not always as an alternative
to revocation, but as an enhancement for a parolee who is not under consideration for

revocation.

45

Case 2:90-cv-00520-KJM-SCR Document 2242-3 _ Filed 05/24/07 _ Page 64 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 46 of 64

All of these challenges have impacted program usage. Available data capture a
fairly low number of referrals, as remedial sanctions appear to have been used for ten to
fifteen percent of the parolees with a parole hold.

Proposition 36-initiated programming is the most used, at about ten percent of the
holds placed, ICDTP was the subject of less than two percent of the holds since its initial
use in December. Defendants state that they are using self-help outpatient/aftercare
programs and structured and supervised environments, but these are not tracked, at least
not specific to the parole violator population, so it is impossible at this time to determine
how frequently these methods are used. Data documented only ove referral for Electronic
In-Home Detention, although Plaintiffs cite a memo indicating 59 units were in use. This
may be in part because Defendants’ reportedly usual practice is to order Electronic In-
Home Detention prior to any hold being placed, which would occur outside the Valdivia
process,

Virtually all alternative placements (95-98%) are disposed of at the Return to
Custody Assessment and Probable Cause Hearing steps. Printouts show 7,497 referrals to
Proposition 36 beds, 772 referrals to ICDTP, and 1 referral to Electronic In-Home
Detention. Of those, only 102 Proposition 36 and 38 ICDTP decisions were made at
Revocation Hearings,""™

Defendants have been asked, and agreed, to develop a new remedial sanctions
plan, to be submitted to the Special Master and Plaintiffs’ attorneys no later than
November 30, 2006. In that letter, I stated: “That plan should include any changes in
programs, policies, or courses of action that meet the spirit and the projected numbers of

the original remedial sanctions plan. It may include any of the programs currently in use,

46

Case 2:90-cv-00520-KJM-SCR Document 2242-3 _ Filed 05/24/07 Page 65 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 . Page 47 of 64

as well as others CDCR would like to propose. The plan must include specific details
concerning the programs to be offered; the populations for which they are designed; the
logistics required to design, fund, contract for, and oversee the programs, including
training of BPH and DAPO staff in using them; and anticipated timelines for each of
those steps.” Once the plan is submitted, the efficacy of it will be negotiated with the

Plaintiffs,

* Progress has been negligible in this area and significantly more is needed

to satisfy this requirement.

Interpretation [ssues

As the requirements above have been implemented, issues of interpretation and effect
have surfaced. Some are discussed above. The following items have been raised in the
parties’ communications, often based on observation during at least one monitoring visit,
and often framed as a need both for a substantive correction and for memorializing in
policy and procedure. The parties are engaged in ongoing ‘meet and confer’ sessions on
policy and procedure formulation, which are reportedly fruitful.

As such variables as scope, substantiation, and full or partial resolution, or progress
toward the same, are unknown to the Special Master, these issues are noted here solely
for the Court’s awareness of the range of possible issues in the case to date. The Special
Master expresses no opinion and makes no recommendation to the Court concerning

them at this time. Those issues are:

47

Document 2242-3 — Filed 05/24/07 Page 66 of 93

Case 2:90-cy-00520-KJM -SCR
ase 2:94-cv-0067 1-LKK-GGH Document 1302 Filed 09/14/2006 Page 48 of 64

* Parolee timeliness waivers, including whether parolee attorneys are requesting
them at a reasonable rate and whether hearings are resumed after a reasonable
time

* Parolee rights waivers before being appointed counsel

e The handling of notice and the timing of hearings when there are supplemental
charges determined afler the original charges have been served

* Whether parolees may be removed while fearful witnesses testify, subject to the
parolee’s attorney's examination, but not the parolee’s direct confrontation

* Postponemenis beyond deadlines because subpoenaed state witnesses do not
appear

* Whether there are sufficient provisions for attorney-client communications to be
confidential in some locations

* Parolees not’ being served and not having hearings because physical or mental
illness renders them unavailable or unlikely to understand the proceedings,
including whether this judgment is made reasonably, the length of time that is
added, and mechanisms to ensure the process is restarted as soon as practicable

e Length of time to hearing when a parolee is subject to extradition or is allowed to
remain “not in custody”

* Whether state cmployees and witnesses will be provided with attorney
representation during hearings

* Transportation challenges in making parolees available

* Deputy Commissioners and attorneys conducting telephone or in-person hearings
without the parolee

* Adequate notice to parolees of the dates of their revocation hearings

* Ensuring consistent provision of written decisions after hearings to attorneys and
parolees

« Status of civil addicts in relationship to Valdivia
* Status of “cooperative parolees” -- that is, those received for supervision under

the Interstate Compact for Adult Offender Supervision -- in relationship to
Valdivia

48

Case 2: 29: -CV “008

Q-KJM-SCR Document 2242-3 _ Filed 05/24/07 ~— Page 67 of 93
ase 2:94- 671-LKK-

2
0 KK-GGH Document 1302 Filed 09/14/2006 Page 49 of 64

¢ Time calculation issues, such as denial of work time credits if a parolee on
revoked status remains in a non-CDCR facility

* Exclusion of parolees with disabilities from remedial sanctions such as the
Parolee Substance Abuse Program

« Whether providing psychotropic medication is an obligation for carrying out
effective communication with mentally ill parolees

Relationship to Other Cases
In practical terms, a variety of issues in Valdivia v. Schwarzenegger arguably
overlap with concurrent remedial orders in Coleman v. Schwarzenegger and Armstrong vw
Schwarzenegger, Coleman
Defendants have not submitted to the Special Master any positions about the
potential relationship of the practices in these lawsuits. Plaintiffs maintain that these areas
overlap between Coleman and Valdivia:

Pre-release and discharge planning

Mentally ill parolees’ technical violations

Psychiatric revocations \
Remedial sanctions, overcrowding, and reception centers

Pre-release _and discharge planning: Plaintiffs argue that CDCR’s failure to

provide mentally ill inmates who have impending paroles with adequate pre-release
planning’ and treatment, as well as post-release services, results in their being
immediately vulnerable to revocation, especially for being unable to obtain appropriate
housing or treatment for mental illness in the community. Plaintiffs argue that CDCR’s
actions or omissions led to these violations and that a subsequent revocation proceeding

is therefore fundamentally unfair, making it a Valdivia issue.

49

Ca @ 2:94-cv-00671-LKK-GGH Document

CR. Document 2242-3 _ File
1302 Filed 0

‘The Special Master declines to adopt Plaintiffs’ view. The complained of
practices concern services provided or omitted by staff outside DAPO and BPH and

outside due process procedures and provision of remedial sanctions. While Plaintiffs seek

to require services that are arguably much needed, Valdivia is not a source mandating

them.

Techmeal violations; Plaintiffs also say that Defendants send some mentally ill
parolees back to prison essentially for being mentally ill, Plaintiffs say that Defendants
revoke a large number of these patients’ paroles on technical violations as a substitute for
their genuine reasons, and that the parolee behaviors underlying the revocations spring
from the lack of iteatment resources in the community,

_ Again, while there is ample reason to believe there is great need for more
community mental health treatment, Plaintiffs’ argument appears to be based, not in

Valdivia mandates, but in judgments about the quality of decisions that are within DAPO

_ and BPH discretion. As such, the Special Master is not convinced that this is a matter for

the Faldivia court.

Psychiatric revocations: Under Title XV, DAPO and BPH staff may give a

mentally ill parolee a one-year revocation term on the basis that his/her mental i!Iness is
not in remission and makes him/her likely to commit a crime (“psych returns”). This
presupposes that the revocation is for purposes of treatment while incarcerated, and the
full term must be served unless a CDCR clinician certifies mental health improvement
sufficient for earlier release. Plaintiffs’ counsel, on June 15, 2006, sent notice to
Defendants that Plaintiffs believe Defendants are in violation of the Valdivia Permanent

Injunction by continued use of the psychiatric return process. In August 2006, Defendants

50

d 05/24/07 _ Page 68 of 93
9/14/2006 Page 50 of 64 ©

4/Q7 _ Page 69 of 93

2:90-cv-00520-KJM-SCR. Document 2242-3 _ Fil ['
CA FON OORT LLC t 73 iled 09/14/2006. Page’51 of 64

4~Cv- GH Documen 2 Filed 0
told all parties that they had decided to cease using the psych return process. Some issues
remain, however, as staff have not yet been notified of the change in policy and some
parolees may continue to be revoked under these provisions for a time, and Defendants
have a number of parolees currently in custody under these terms.

Plaintiffs state in their notice: “... the psychiatric retum process presents serious
due process concerns, and results in severely mentally ill parolees being placed in
dangerous and life threatening situations. Both procedural problems in the psychiatric
return process, and the use itself of psychiatric returns given the lack of adequate mental
health care in the prison system, implicate the underlying concems of the Permanent
Injunction...”

The Plaintiffs’ notice continues: “Defendants’ current psychiatric retums practices are
rife with procedural defects that directly violate: specific terms of the Permanent
Injunction;

Withholding psychiatric evaluations from parolees” appointed counsel;

Failure to timely serve mentally ill parolees with notice of charges;

Failure to hold timely revocation hearings for mentally ill parolees;

Failure to provide mentally ill parolees the opportunity for meaningful
participation in revocation hearings; and

« The systematic exclusion of parolees with serious mental illness from remedial
sanction programs.”

The basis for these latter allegations is as yet unclear. A BPH review identified 44
patolees revokcd under these terms in 2005, and examining them gives an. ititial
indigation of the handling of these cases. They were not concentrated in any particular
parole umts or regions.

Notice showed some of the problems inherent in this process, Five men

apparently were never served and notes indicate another three impressed the notice agent

21

-SCR. Document 2242-3 _ Filed 05/24/07 _ Page 70 of 93
-LKK-GGH Document 1302 Filed 09/1 4/2006 Page 52 of 64

‘as not understanding what had transpired, The charges seven men received in the notice
of rights concemed actions other than the psych return provisions. These were revised by
the RTCA step and, while one cannot determine whether the parolee was independently
advised of this, attomeys had the information when they usually receive the cases.
Attorneys say they routinely receive the mental health evaluations and reports. _

Many of these probable cause hearings were held substantially beyond
timeframes, About 61% were held timely, with most of the remainder experiencing
lengthy delays of one week to 244 months. Occasionally, it appeared that the probable
cause hearing did not occur. One cannot determine much about contributors to these
delays. .

The Parole Outpatient Clinic clinician does not participate at this step and,
consequently, this step often contributes little. Patients who are in or nearing an acute
state when returned to custody wait a minimum of 35 days for treatment, unless they
decompensate and are sent to an inpatient unit. It seems advisable to reconsider clinician
testimony at the probable cause hearing, routinely expediting the revocation hearing, or
some other method to reduce what appears to be known and preventable lengths of time.

Only 64% of these parolees’ revocation hearings were cither held timely or

concluded at the probable cause hearing step. Hight more were unnecessary, though three
parolees were held over several weeks before the decision was made. The remaining
hearings were held from 10 days to 7 weeks late. Most late hearings were not explained,
but there were occasional, troubling cases where Parole Outpatient Clinic staff

unavailability or failure to supply an evaluation delayed hearings up to two months after

the deadline.

52

CASE 8 35Y-00 068 KINGSCR “scumant 4302 > Filed 09/14/2008. page Go ofr

As to outcomes, one quarter of these cases were dismissed and this occurred at
several stages of the process. The rest were given the full year term, with one exception,
and defendants report that only two of these parolees were released before serving the full
year.

Certainly, it is undisputed that such parolees may or may not get treatment — the
purpose of the revocation — depending on their length of stay in Reception Centers, which
are staffed only for screening and not for treatment, It also appears that clinicians
commonly are not familiar with the assessments needed to determine whether the
parolees are stabilized sufficient for release, so there is a substantial risk that these
parolees are held for months longer than necessary,

In late August, Defendants convened an interdisciplinary task force to address
several issues affecting the patients cutrently held under psych retumn provisions.
Defendants committed to identifying all current and future cases; improving access to
treatment; determining evaluation standards for clinicians to apply; evaluating all such
patients; and addressing a variety of issues related to ongoing evaluation, patient release,
and community placement. Defendants committed to routine communication practices

on-point with the Special Master and Plaintiffs’ counsel.

* The Special Master’s team has not yet examined this issue sufficiently.
We have neither a clear sense of the numbers of Valdivia class members
involved nor their impact on resolving Coleman issues. This will be a

priority issue in the coming term,

33

Case 2:90-cy-00520-KJM-SCR Document 2242-3 _ Filed 05/24/07 Page 72 of 93
Case 2:94-cv-00671-LKK-GGH Document 1302 Filed 09/14/2006 Page 54 of 64

Remedial sanctions, overcrowding, and reception centers: The complex questions

of the rapidly expanding prisoner and parole revocation populations, and the reasons for
this, have implications for, and impact on, the Valdivia and Coleman classes. With
reports of substantial staffing vacancies in the system, it is predictable that most
classification, clinical, and custody processes are not prepared to keep pace with the
volume. As assigned beds become impacted in CDCR, predictably prisoners will spend
longer periods in Reception Centers, which, as noted, do not provide treatment according
to Coleman 's levels of care for mentally ill prisoners and parolees awaiting revocation or
_ Serving revocation terms.

While the numbers have not yet been established, observers note it is common for
mentally ill parolees to incur technical violations resulting in short revocation terms;
under current CDCR conditions, it is increasingly likely that those terms are too short for
them ever to transfer to a facility offering their needed level of care during that term, and
that such a cycle commonly repeats.

Whether and how much the use, or lack, of remedial sanctions contributes to
population pressures in Reception Centers, or can alleviate them, is an open question of
great significance, as is the question of how best to provide programming that meets the
mandates of both lawsuits, the objectives of correcting parolee behavior and increasing

successful paroles, and patients’ clinical needs.

* Again, the Special Master’s team has not yet examined this issue

sufficiently, This will be a priority issue in the coming term.

54

2:90-cy-00520-KJM-SCR Document 2242-3 _ Filed 05/24/07 _Page 73. of 93
ASE 8 FON GRBOSTILKGGH Sscumant 1302 > Filed 09/14/2008. Pag’ss ot @4

Armstrong

_ Armstrong governs reasonable accommodations in a broad array of processes,

services, and programs for CDCR prisoners and parolees. Quite a number of Armstrong
and Valdivia remedial plan requirernents or interpretations are of a similar nature. The
Special Master has not undertaken a detailed comparison to determine whether there are
nuanced differences in these provisions.

Most broadly, Armstrong requires CDCR not to discriminate against disabled
persons. Discrimination in the parole revocation arena may take the form of excluding the
disabled parolee, delaying a hearing or other process, or not providing a reasonable
accommodation such that a parolee is limited in accessing, understanding, or
participating in the process.

Armstrong employs a number of detailed methods to ensure that protections are
provided and documented. Both cases require tracking for different categories of
parolees with disabilities or difficulty communicating or participating, and. informing

parolees’ counsel of these issues. Both recognize the need for relevant policies and

procedures, simplified forms, and requiring that revocation hearings be held within 50.

miles of the violations alleged.

. A key requirement common to both cases is an obligation to provide equally
effective communication to parolees with conditions that limit their ability to understand
and participate in written and oral communication. This may involve, for example,
parolees with vision or hearing impairments, speakers of languages other than English,
those with limited Nteracy, and those with impaired comprehension by virtue of

developmental disability or mental illness. Armstrong also requires staff to document the

55

C*EAROREESESGOA NESE BERG TRSE ART EGRGAS S508

methods used for effective communication and an assessment that the parolee
understood,

The accommodation and effective communication requirements apply at all stages
of the revocation process — notice, attorney interviews, hearings, and remedial sanctions.
_ As noted, Plaintiffs were successful in recently establishing with the Armstrong court that
the absence of an effective tracking mechanism results in systematic failures to provide
effective communication. As described in detail in the Remedial Order Requirements
section above, Plaintiffs have numerous concerns about effective communication
procedures at all steps and about reasonable accommodations requiring delayed hearings.
They also object to exclusions from remedial sanctions programs, either by physical
layout, program design, or by local policy, and they issued a Notice of Violation in

January 2006.

e The Special Master has reviewed. these issues only to the extent described

above and will monitor implementation ongoing.

Summary
The past two years in this case may best be characterized as a period of
exceptional and steady progress. Massive changes have been made in brief periods of
time. Plaintiffs’ attorneys and Defendants have generally worked cooperatively toward

identifying problem | areas and working through to potential solutions,

56

-3_ Filed 05/24/07. _ Page 75 of 93
CAE SOO GY 56ST URGE WSSU 9305? mudd! 88/24/5006 Page 57 of 64

It appears that significant progress has been made in Valdivia, particularly in
addressing the clear constitutional due process violations. Certainly representatives of
both parties must share in the credit for that progress.

Dedication and personal investment in implementing Valdivia requirements well
are evident among key personnel throughout BPH, DAPO, Institutions Division, and
CalPAP. Staff take a quality improvement approach to the work, continuously assessing
for successes and deficiencies and taking thoughtful, well-reasoned steps in response.
They anticipate and plan for staffing, auxiliary staffing, physical plant, data needs, and
other impacts--a critical component of success. Similarly, interviews with line parole

officers and supervisors suggest that they are doing their best to make the process work.

Also notable ig the CDCR creation of the Valdivia Task Force, a group whose
membership includes representatives from all parts of COCR who have even a tangential
interest or role in managing Valdivia requirements. The Task Force meets weekly, serves
as a means of keeping all informed of progress and issues, troubleshoots problems,
develops strategy, coordinates the different parts of the organization, and brings
department-wide resources to bear as needed. The Task Force benefits from contributions
from Parole and Institutions Case Records, Facilities Management, Enterprise
Information Systems, Transportation, Court Compliance Unit, Office of Legal Affairs
and the Attorney General's ‘Office, ADA. Compliance Unit, and the California

Correctional Peace Officers Association.

Successes have been accomplished in an unsettled environment. In 2006, there

have been personnel changes in the offices of CDCR’s Secretary, Undersecretary,

37

:90-cy-00 -KJM-SCR Document 2242-3 Filed 05/24/07 _ Page 76 of 93
CASS Ss OGL BOOT ICSE ASSumENt F865°o etd Osa /s000 Page 58 of 64

Director of Adult Operations, Director of Adult Parole Operations, Executive Director of
the Board of Parole Hearings, as well as others, and multiple times in some of these
positions. Many of the present occupants of these positions are in “Acting” status. Such
leadership turmoil often leads to stagnation in an organization, but it appears that the
Valdivia Task Force has been able to help provide stability for the efforts of those
responsible for meeting the requirements of the Valdivia Remedial Order. This detailed

_ project management on the part of CDCR seems to have maintained the progress toward
resolution of Valdivia issues.

It is highly recommended that the Valdivia Task Force be continued and
supported by the CDCR administration.

The CDCR has also made rematkable progress in a brief period. of time in
addressing the logistical challenges inherent in establishing the capability to hold timely
hearings across the state. Thirteen Decentralized Revocation Units have been built,
equipped, and networked and staff have designed and carried out a transportation system
between these facilities and county jails. County jails have been equipped with telephone
and fax lines to conduct telephone hearings; space has been acquired from counties for
hearings and attorney interviews; and telephonic translation services have been made
available when an in-person translator is not available. Large numbers of staff have been —
hired and trained. Existing staff in multiple divisions have been given a wide variety of
tramings in Valdivia requirements and the relationship to their duties, and procedures
have been implemented to enhance coordination and information sharing across these

divisions. Substantial numbers of forms, policies, procedures, guidelines; and training

38

. File
02 Filed 0

eet
NO
ON
Ss
™
w

d 05/24/07 _ Page 77 of 93
9/14/2006 _ Page 59 of 64

a Ease 2c O0OTTLRRGEH  Bocumen
materials have been developed and efficiencies were gained through processes such as
computerizing subpoena issuance,

The provision of counsel through CalPAP and the meeting of the due process
deadlines have improved much more than would be anticipated just a year into full
implementation. Concurrently, there are notable vignettes of failure to be fully compliant
with the timelines of the Remedial Order, as well as quite a number of open questions as
to whether, in practical application, what is provided is substantively sufficient. Yet, both
parties should be pleased that a unique and responsible system has been established and is
performing very well overall.

Recent agreed-upon revisions to the monitoring plan, to include a venture into
self-monitoring on the part of the Defendants, provides some expectation of movement
toward compliance. Tt will also serve well as a key to sustaining a compliant system and
to demonstrating the ability to fully assume responsibility for the system without need of
court supervision once other requirements have reached substantial compliance,

Data collection, primarily data from RSTS and the CalPAP information systems,
is unusually sophisticated for an early effort. Yet, there are significant improvements yet
to be made and these are critical to reaching and tracking remaining goals, to
demonstrating compliance more fully, and to future sustainability. The reliance on paper-
based revocation packets has presented challenges in informing all concerned on a timely
basis, while maintaining the expected timeframes. The State has explored and is
encountering mrultiple obstacles to instituting electronic packets, though it anticipates
introducing a pilot in summer 2006 as part of a CDCR-wide five-year planning project.

Although not likely to be a near-term solution, the eventual migration to dominantly

39

O0-cy- iled 05/24/07 _ Page 78 of 93
CAE 88 TS GO BOOT LR GeH TBSSsment 2243. “5 Fiidd 89/14/5008 PaGe6o ct ba

electronic packets would greatly enhance timely communication and ease the ability to
meet timeframes.

Remedial sanctions, as required by the Remedial Order, are non-existent in most
areas of the state, and have limited use in other areas of the state. COCR does manage a
number of programs that are primarily serving inmates transitioning out of prison. It is
possible that some of the spaces in those programs or the expansion of those programs to
serve as alternatives to revocation could be easily used. Certainly the exploration of
alernatives so as to meet the spirit of the remedial sanctions portion of the Valdivia
Remedial Order should be undertaken. A new plan was requested of the Defendants in a

July 4, 2006 letter and is anticipated by November 30, 2006.

The Special Master's team will concentrate during the next term on assisting in
the development of definitions of substantial compliance (quantitative and qualitative):
reviewing the issues stated earlier that require enhanced monitoring; assessing the

anticipated new Remedial Sanctions Plan; and encouraging continued improvement in

those critical due process areas.

Recommendations
The Special Master makes the following recommendations:

1. Because of the critical need to structure compliance activities, demonstrate
compliance, and exercise effective internal oversight, Defendants must
provide additional resources to make information system application changes
for the purposes of data collection, analysis, aggregation, and management
reports, and other modifications as needed by the Special Master and the
Court, with input from Plaintiffs. The effort should be coordinated with the
information system changes underway pursuant to the Armstrong court’s
order, to avoid unnecessarily duplicative or contradictory effort, and so that
the changes serve the purposes of both remedial plans on the issues they have
in common, To the extent that DAPO and BPH determine that certain of these
functions can best be accomplished by modifying DAPO’s information

60

:90-cvy- )-KIM-SCR . Document 2242-3 _ Filed 05/24/07 Page 79 of 93
C858 8 FGA ROBTIL KR GEM USScument 1302 > Filed 00/14/5008 Page 61 of 64

system, sufficient resources must also be available for that purpose. Major
modifications will be needed in RSTS and likely in other databases.

Planning for these changes must be initiated within 60 days of this order.
Defendants must provide to the Special Master and Plaintiffs periodic reports
on the progress of these changes; the first of these should be due six months
after the date of this order, and every six months thereafter until the Special

Master determines the improvements are complete The system changes must
be completed within two years of this order.

2. To establish and demonstrate the state’s ability to fully assume responsibility
for overseeing Valdivia policies and procedures long-term, the state must
institute and maintain the infrastructure needed for self-monitoring, staffed by
subject matter experts working in a department outside of the departments
being reviewed. There must be staffing and resources sufficient to conduct site
visits, asscssments, and quality improvement efforts at the Decentralized
Revocation Units, contracted jail facilities, contracted legal services for
parolees, CDCR and non-CDCR facilities providing remedial sanctions, and
other facilities and services falling under the auspices of the Valdivia
remedies.

Although not a formal recommendation, the Special Master recognizes that some
factors have been key to Defendants’ successes to date. First is the use of an
interdisciplinary and interagency structured approach to the oversight of implementing
and institutionalizing the Valdivia remedies, with participation from agency and
department representatives with authority sufficient to enact, and make budget decisions
about, agreed-upon changes, policies; and practices. Equally important is a well-
structured system of providing attomey representation that includes coordinated
statewide coverage; an adequate number of attorneys, administration, and support staff;
initial and ongoing attomey training; close oversight of attorneys, including quality
improvement; information systems and other infrastructure sufficient for coordination of

‘the panel and oversight of its activities; flexible response to program changes;

coordination with CDCR and county jail operations; and program administrators serving

61

CAE 286 ZEXR-OGGALRGEH WBScumert 1302 ° Filed 09/94/5008 Page’ or Ga

in an integral role in CDCR’s interagency oversight and in party negotiations of policy
and implementation issues,
CDCR is highly encouraged to continue interdisciplinary and interagency —

oversight, and administration of attorney representation with the features described.

Respectfully submitted,

DATED: September 11, 2006

A/Chase Riveland

Chase Riveland
Special Master

62

AEBS OEY ORGS CG EY BSaiment 1805 > Filed 86/9215 156 508. Page 63 of By°°

" Special Master's analysis of reports titled RAD Important Dates Report Summary 12/05-4/06; Valdivia
Time Frame Violations Date Assigned Over 6 Days, 1/05-12/05
" Special Master’s analysis of email from Mary Swanson to patties’ counsel dated 6/14/06, forwarding
analysis by John Dirks of expedited probable cause hearings and revocation hearings
™ These numbers and observations are based on comparison of the reports titled Closed Case Summary
from 9/1/05 through 4/30/03
Defendants’ Compliance Report, dated May 5, 2006, pp. 6-8
“ Special Maater's analysis of the reports titled Monthly Workload from 9/1/05 through 4/30/05 — number
of parolees in columns COP (continue on parole) and Dismiss at this step, a5 a percent of total holds ©
“ Monthly Workload (separate report run for each month spanning 9/05-4/06, printed 3/11/06); Plaintiffs’
analysis of same, tested by Special Master
‘These numbers and observations ate based an Special Master’s analysis of the reports titled Monthly
Workload from 9/1/05 through 4/30/05 and interviews with Rick Winistorfer, Rhonda Skipper-Dotta,
Michaet Brady, and Katherine Nelson
“Numbers and observations based on interviews with various Defendants and on the Special Master’s
analysis of the following reports: NOR Timeliness by DRU from 9/1/05 through 2/28/06 (each month’s
reports run on 3/10/06), NOR Timeliness by DRU from 3/1/06 through 3/31/06 (run 4/28/06), RAD report
titled Valdivia Time Frame Violations Notice of Charges Over 3 Days from 1/04 through 12/05 (unknown
run date, probably in Feb. 2006, Special Master used only data from 6/05 forward), and RAD report titled
Valdivia Time Frame Violations Notice of Charges Over 3 Days from 1/06 through 4/06 (nm 5/25/06)
_” Plaintiffs’ Response to Defendants’ First Compliance Report pp. 33-34, citing April and May 2006
monitoring reports
* CalPAP Tepart: REVOCATION HEARINGS OVER 35 DAYS (separate reports run for each month
spanning 4/06-6/06, printed Tuly 28, 2004)
™ Special Master's analysis of CalPAP reports titled RAD Over 35 Day Valdivia Time Frame Compliances
from 12/1/05 through 3/31/06
™ CalPAP report; REVOCATION HEARINGS OVER 35 DAYS, Reporting Period June 1-30, 2006; dated
July 28, 2006 ,
™ CalPAP report: REVOCATION HEARINGS OVER 35 DAYS, Reporting Period June 1-30, 2006;
dated July 28,2006, This latter report does not distinguish whether cases closed at a step earlier than a
Tevocation hearing were completed timely for that step, as long as they were completed by the 35-day
point.
*VV Special Master's analysis of reports titled PCH Statistics - All DRUs (separate reports run for each
month spanning 9/05-1/06, printed 2/7/06), (separate reports run for each month spanning 2/06-4/06,
printed 5/30/06)
kd.
xvi Td.
*v Defendants’ Compliance Report Exhibit F
will Special Master's analysis of reports titled Remote PCH Sites (Counties) dated 10/05, 11/03, 12/05 and
4/06, and spreadsheet file named PCH Expansion Chart
* Special Mastet’s team analysis of ‘organizational charts provided in July 2006
™ Defendants’ Compliance Report pp 22-23, Exhibit V
*' Discussion in this section is based on Defendants’ Compliance Report pp. 24-25 and telephone
conference with Dan Carvo, June 14, 2006
*" Plaintiffs’ Response to Defendants’ First Compliance Report pp. 34-35
* Defendants’ response to request for information from Deputy Special Master Campbell, dated May 24,
2006
“* Defendants’ Compliance Report p. 26
*’ See DAPO Memorandum of May 7" 2004, re: Policy 04-13 which describes SATCU and DAPO
Memorandum of September 2" 2005 re: Policy 05-13 and Local Jail contracts from Kern County and
Tulare Pretrial Facility

63

Cage 2299-67 QR6EMISGBH Fosument 4345-3 Kuby Oe Aalsg4e” pass 4 ot bao

**¥1 See DAPO Memorandum of May 7" 2004, re: Policy 04-13 which describes SATCU and DAPO

Memorandum of September 2™, 2005 re: Policy 05-13

swill Defendants’ Compliance Report Exhibit Z

~vll' This information comes from interviews with parole agents by Deputy Special Master Campbell and
Special Master Riveland

“ Referrals numbers in the preceding two paragraphs are based on the Special Master’s analysis of the
reports titled Monthly Workload from 9/1/05 through 4/30/05

64

Case 2:90-cv-00520-KJM-SCR - Document 2242-3 - Filed 05/24/07 Page 83 of 93

EXHIBIT K

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 84 of 93
State of California : Department of Corrections and Rehabilitation

Memorandum

Date : September 2, 2005

To : Regional Parole Administrators Policy No:. 05-13
' District Administrators
Unit Supervisors

Subject. POLICIES AND PROCEDURES FOR THE IN CUSTODY DRUG TREATMENT
PROGRAM

(

At the direction of the Youth and Adult Correctional Agency, the California Department of
Corrections and Rehabilitation (CDCR), Division of Adult Parole Operations (DAPO), was
tasked with redesigning the Substance Abuse Treatment Control Unit to enhance public safety
for parole violators who require substance abuse intervention. Effective September 1, 2005,
the DAPO will implement the In Custody Drug Treatment Program (ICDTP).

Placement into the ICDTP is intended for parolees who have committed violations as a result
of drug or alcohol related dependency and/or have a need for a period of confinement and
treatment to get their substance abuse under contro!. This will not constitute a break in parole
and the parolee will remain eligible for discharge consideration per Penal
Code (PC) Section 3001. mo

The ICDTP will operate under Health and Safety Code Sections 11561 (male),

. and 11563 (female) which allow the Board of Parole Hearings (BPH) to place a person in an
in-custody drug treatment program for up to 90 days when there are reasonable grounds to
believe that he or she is addicted or habituated or in imminent danger of being addicted or
habituated to controlled substances or alcohol. The law further states that no parolee may be
placed in such a program against his or her will.

The ICDTP will utilize existing personnel and resources to create a more structured and
successful drug treatment program for parolees in need of rehabilitation. The ICDTP
components include a 60-day in-custody, educationally based, drug treatment phase
immediately followed by a mandatory 30-day residential aftercare treatment phase and
transitions into a 60-day community based treatment phase.

The 60-day in-custody component of the ICDTP will be accomplished by establishing contracts
between municipalities and the DAPO (Attachment A). The Contra Costa County Office of
Education (CCCOE) will provide an enhanced education based Substance Abuse Treatment
“and Recovery (STAR) program Monday through Friday to parolees housed in the ICDTP
facilities. The CCCOE curriculum will include:

# Process of Addiction @ Anger and Violence
¢ Framework for Recovery @ Life Skills Management

4 Twelve-Step Methodology ¢ Family Dynamics

* COC 1817 (3/89)

~ 10/27/05 256

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07

Regional Parole Administrators
District Administrators

‘Unit Supervisors

(Policies and Procedures for the In Custody Drug Treatment Program)

Page 85 of 93

Page 2
¢ Addiction Self Assessment ¢ Increasing Self Esteem
¢ Assertive Communication ¢ Behavior Modification
¢@ Developing Healthy Relationships Drugs and Violence
@ Chemical. Dependency/Family ¢ Commitment to Change
@ Disease Concept of Addiction ¢ Community Resources
# Relationships: Myths/Styles @ Psychopharmacology
@ Understanding the Emotional Self Pathway to Change
#. Community Transition Planning # Anger Reduction
@ Rage, Recidivism and Recovery ¢ Relapse Prevention -
¢@ Dysfunctional Family Roles ¢ Motivation
¢ Adult Children of Alcoholics ¢ Addictive Relationships
@ Anger: Creating New Choices ¢ Cognitive Restructuring

The 30-day residential aftercare treatment program component will be provided by community

based organizations contracted through the Substance Abuse Services Coordinating.

Agency (SASCA) in each of the four parole regions. The SASCA contractor will also provide
case management services to the parolee while housed in the in-custody program.

Upon completion of the 30-day residential aftercare treatment program, the SASCA contractor
will refer the parolee to community based programs; i.e., Alcoholics Anonymous, Narcotics
Anonymous, free services in nonresidential clinics, alumni aftercare groups, for a
mandatory 60 days of participation, and notify the Agent of Record (AOR) of the program
location(s). The AOR will approve of and monitor performance in the 60-day community
based treatment phase portion of aftercare.

INCLUSIONARY CRITERIA

Placement into ICDTP requires a parolee to have a nexus to current substance abuse and/or a
history of substance abuse related criminal or violation offenses. Providing this criterion is
met, the following may also be considered on a case by case, basis:

e Prior conviction of a “serious felony” as defined in PC Section 1192.7(c),
e Diagnosed under Correctional Clinical Case Management System who fit local
custody criteria.

‘ EXCLUSIONARY CRITERIA

Parolees who meet the following criteria shall not be considered eligible for ICDTP
placement:

Prior conviction of a “violent felony” as defined in PC Section 667.5(c)..

¢ Current violation(s) being referred is/are found in the California Code of Regulations,
Title 15, Division 2, Section 2616(a)(14).

® ICDTP local facility restrictions; i.e., psychiatric, medical, validated gang members.

10/27/05 257

1

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 86 0f93

Regional Parole Administrators

District Administrators

Unit Supervisors

(Policies and Procedures for the In Custody Drug Treatment Program)
Page 3

Parolees required to register under PC Section 290.
Reside in counties where residential aftercare treatment services are not available.
Pending court date at the time of Unit Supervisor (US) recommendation for ICDTP
placement,

e Parole violators arrested in a county outside of their own except when the ICDTP
facility would be the same as his or her own county (Attachment B).

e. Active United States Immigration and Naturalization Service holds, Interstate cases.
or Civil Addict cases. 4

e Have less than 120 days remaining on parole.

SUPERVISION LEVEL OF PAROLEES

Parolees will be maintained on the caseload of the AOR while in the ICDTP. Once submitted
to the US, the case will remain on “active” status and will be reduced to minimum supervision
for the remainder of the 60 days of “in-custody” phase. Once the parolee is released from
the 60-day ICDTP, the parolee will return to their previous classification, unless otherwise
stipulated by the US. During the 30-day residential aftercare treatment phase and
subsequent 60-day community based treatment phase, the parolee will be maintained at the
designated supervision level uniess stipulated by the US.

DISCIPLINARY ISSUES —

Parolees shall be referred to the BPH for willful failure to follow instructions, and/or
participate in the JCDTP in-custody, residential and community aftercare treatment phases of
the program. During the 60-day in-custody phase, the ICDTP Parole Agent (PA) If will notify
the AOR of program failures/disciplinary. issues via an Activity Report (CDCR 1502).
During the 30-day residential aftercare treatment phase, the SASCA will notify
the AOR directly within 24 hours of program failures/disciplinary issues. During the 60-day
community based treatment phase, the AOR will be required to monitor and provide
disciplinary action based on supervision specifications. The AOR will be responsible for
disciplinary actions through all phases of ICDTP. The AOR and US will have discretionary
authority on non-wiliful program failures.

RELEASE PROCEDURES

Parolees will be released from the ICDTP facility following successful completion of 60 days
in-custody at the ICDTP facility. Release dates must occur Monday thru Friday; i.e.,
if the 60th day occurs on Saturday or Sunday, parolee is to be released prior to the weekend.
The ICDTP PA II will remove the PC 3056 parole hold and ensure parolees are released on the
appropriate release date. The ICDTP PA II will further coordinate the post release
recommendations with the SASCA and STAR staff and notify the AOR of the 30-day
residential aftercare treatment program. The SASCA contractor is responsible to arrange for
transportation from the ICDTP facility to the residential aftercare treatment provider location.

10/27/05 258

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 87 of 93.

Regional Parole Administrators

District Administrators

Unit Supervisors

(Policies and. Procedures for the In Custody Drug Treatment Program)
Page 4

LINES OF RESPONSIBILITY FOR ICDTP ELIGIBLE CASES
Agent of Record:

When a violation occurs, the AOR will evaluate all case factors and recommend an appropriate
sanction. When ICDTP is determined to be the appropriate sanction, the following procedures
will apply:

e Case conference with the US within 24 hours of PC 3056 parole hold.
e Complete .Charge Report (CDCR 1502b) and submit to US for probable cause
determination within 48 hours.
e Submit ICDTP Referral Package (refer to page 6) recommending placement into ¢ a
- local ICDTP within 6 business days.
© Monitor ICDTP progress and provide disciplinary action based on further violations.
| Approve of and monitor performance in the 60-day community based treatment phase.

Unit Supervisor:

e Confirm that the AOR applied the criteria appropriately when conferencing the case.
Determine whether the ICDTP is an appropriate sanction for the parolee.
Make a probable cause determination within 48 hours of PC 3056 parole hold and
immediately forward field file to the Notice Agent for Americans with Disabilities
Act review and notice of charges. (Notice Agent will notify parolee of charges within

_ three business days following PC 3056 parole hold).

e Make appropriate entries in Revocation Scheduling and Tracking System.
Review Violation Report, stamp or write “ICDTP” on top of CDCR 1676 Charge
Sheet and forward to appropriate Decentralized Revocation Unit (DRU).

Valdivia Parole Administrator:

e Maintain communication with the ICDTP PA II regarding available bed space at area
ICDTP facilities.

» Review violation referrals to determine eligibility and ensure all necessary
documentation is attached.

Decentralized Revocation Unit Staff:

e Forward Valdivia Parole Administrator’s recommendation and ICDTP referral
package to the Deputy Commissioner (DC) at the Return to Custody Assessment for
review. If approved, case will be scheduled for a Probable Cause Hearing (PCH) for

final approval.

e Atthe conclusion of the PCH, prepare a list of DC approved ICDTP placements.

e Fax list of DC approved ICDTP placements to CDCR Transportation, ICDTP PA II,
and Institutional Health Care Services.

10/27/05 259

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 88 of 93

Regional Parole Administrators

District Administrators

Unit Supervisors

(Policies and Procedures for the In Custody Drug Treatment Program)
Page 5

® Deliver the placement list, along with ICDTP referral package, to Institutional Case
Records (excluding Los Angeles and Santa Rita County Jails).

Note: The BPH has the sole authority to approve placement into the ICDTP. Any cases
disapproved for placement shall continue in the revocation process.

Transportation Unit:
Upon faxed receipt of the approved ICDTP placement list, the Transportation Unit will:

e Fax to the ICDTP PA II and Institutional Case Records confirmation of the
scheduled transport date from the DRU to the ICDTP facility.

e Transport parolees. from the DRU to the appropriate ICDTP facility
within five business days following BPH action.

e Process ICDTP parolee participants for intake into ICDTP facility in accordance
with local booking procedures,

Institutional Case Records:
Upon receipt of approved placement list and ICDTP referral package, Case Records will:

© Utilize established procedures to prepare the parolee(s) for transportation to the
ICDTP Facility, within five business days following the BPH action.

ICDTP Parole Agent II:

The ICDTP PA II will coordinate and manage the overall delivery of services to parolees at the
ICDTP facility, to include:

¢ Review daily facility bookings to determine ICDTP bed availability and notify Parole
Administrator at DRU of available beds. -

* Monitor and verify parolee participation, including each parolee’s conduct and

compliance with conditions of parole.

Verify all parolee CDCR numbers and names,

Conduct an orientation to incoming parolees regarding the ICDTP. .

Provide the CCCOE/STAR instructor(s) with a list of ICDTP parolees in the facility.

Maintain constant communication with the SASCA and STAR instructor regarding

parolees’ participation, progress, post release recommendation and any program

failures.

® Notify AOR of program failures/disciplinary issues via an Activity Report
(CDCR 1502) during the 60-day in-custody phase.

» Coordinate the post release recommendations with the SASCA and STAR staff and
notify the AOR of the approved program/location.

e Ensure parolees are released on the appropriate release date.

e* es @ @

10/27/05 260

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 +Page 89 of 93

Regional Parole Administrators

District Administrators

Unit Supervisors

(Policies and Procedures for the In Custody Drug Treatment Program)

Page 6

Perform jail liaison duties that include tracking in and out of custody movement.

Meet with the jail commanders to discuss problems no less than one time per month.
Prepare a daily movement sheet and fax to the Regional Offender Based Information
System operator.

Assist SASCA with transportation of parolee from the ICDTP facility to the 30-day
residential aftercare treatment program as needed/available.

Substance Abuse Services Coordinating Agency:

Provide case management to parolees during the 60-day in-custody phase and 30-day
residential aftercare treatment phase.

Coordinate the post release recommendations with the ICDTP PA II and STAR staff,
and identify appropriate 30-day residential aftercare treatment program.
Provide/arrange transportation for parolee from the ICDTP facility to the 30-day
residential aftercare treatment program.

Notify AOR within 24 hours of program failures/disciplinary i issues during the 30-day
residential aftercare treatment phase.

Refer the parolee to-a mandatory 60-day community based treatment program and
notify the AOR of the program/location, |

Assistant Regional Administrator or Designee:

Supervise the ICDTP’PA II.

Ensure ICDTP beds are operating at capacity.

Maintain communication with the Valdivia Parole Administrator on issues related to
the ICDTP.

ICDTP REFERRAL PACKAGE:

Charge Sheet (CDCR 1676), (Attachment C)

Legal Status Summary (CDCR 188), (Attachment D)

Parole Violation Disposition (CDCR 1244), (Attachment E)

Central Office Calendar Decision (BPT 1130), (Attachment F)

Charge Report (CDCR 1502b), (Attachment G)

Witness Determination (CDCR 1654), (Attachment H)

Notice of Return to Prison (CDCR 1018), (Attachment 1)

Placement Acknowledgement Form (CDCR 1420) — Blank, (Attachment J)

Notice of Rights (BPT 1100), (Attachment K)

Request for Witnesses (BPT 1100(b)) (Attachment L)

Notice and Request for Assistance at Parole Proceeding (BPT 1073), (Attachment M)
Supporting/evidentiary documents, if applicable; i.e., police reports, lab results, etc.
Absconders Waiver, if applicable (BPT 1102), signed by the parolee, (Attachment N)

10/27/05 261

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 = Page 90 of 93

Regional Parole Administrators

District Administrators

Unit Supervisors

(Policies and Procedures for the In Custody Drug Treatment Program)
Page 7

Training related to the ICDTP Policy and Procedures will be made available to parole agents
per the contract agreement. If you have any questions, please contact Ken Skolnik, Program
Manager, DAPO, at (916) 327-4541, or Karen Johnson, Associate Governmental Program
Analyst, DAPO, at (916) 324-0962.

AP: AEX

JIM L’ETOILE

Director

Division of Adult Parole Operations
Attachments

ec; K. Skolnik
K. Johnson

10/27/05 262

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page910f93

Regional Parole Administrators

District Administrators

Unit Supervisors

(Policies and Procedures for the In Custody Drug Treatment Program)
Page 8

bec: M,. Kalvelage

J. Harris
G. Rodriguez
F. Haywood
R. Ambroselli
W. Bulda
D., Stone
M. Phillip:
G. Lehman
D. Kenneally
C. D’Arcy
M. Brady
J. Van De Erve
K. Nelson
J. Rodriquez
L. Sauceda
L. Macias-Price

10/27/05 263

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 92 0f93

ATTACHMENT A
Contracted ICDTP Facilities Effective September 1, 2005:
1 STAR PA Il
CONTRACT. BED
TEACHERS SUPERVISION
LOCATIONS ALLOCATIONS (Ratio Aprox 30:1) {Ratio Aprox 60:1)
Region |
Kern County Jail — Lerdo Facility
17695 Industrial Farm Road 64 2 1
Bakersfield, CA 93308
Tulare County Adult Pre-Trial Facility
36650 Road 112 50 2 1
Visalia, CA 93277
Total : 114 4 2
Region Il
Dei Norte County Jail
650 Fifth Street 20 4 1
Crescent City, CA 95531
San Francisco County Jail
425 7th Street 30 1 1
San Francisco, CA 95035
Santa Clara County Jail
701 S. Abel Street 100 3 2
Milpitas, CA 95035
Total 150 5 4
Proposed ICDTP Facilities After September 1, 2005:
_ STAR PAI
CONTRACT BED
TEACHERS SUPERVISION
LOCATIONS ALLOCATIONS (Ratio Aprox 30:1) (Ratio Aprox 60:1)
Region iil
Location and Facility Contractor TBD 175 6 4
Total 175 6 4
Region IV
Location and Facility Contractor TBD 68 2 1
Location and Facllity Contractor TBD 68 2 1
Total 136 4 2

Total statewide bed allocations effective Sep. 1, 2005 = 264

Total proposed bed allocations afterSep.1,2005 = 314

Total statewide bed allocations =

576

10/27/05 264

Case 2:90-cv-00520-KJM-SCR Document 2242-3 Filed 05/24/07 Page 93 of 93 “oe

ATTACHMENT B

IN CUSTODY DRUG TREATMENT PROGRAM MATRIX

30-DAY RESIDENTIAL| _©2-DAY
ELIGIBLE COUNTY] pevocATION UNIT | STARFAGILITY | SASCAAFTERCARE| “Deen”
PROGRAM
REGION |
Fresno County Wasco State Prison Tulare Co Adult Pre-Trial Facility |\WestCare NA, AA, Ete.
Kern County Wasco State Prison Lerdo Jail Facility WestCare NA, AA, Ete.
Tulare County North Kern State Prison Tulare Co Adult Pre-Trial Facility |WestCare NA, AA, Ete.
REGION Il
Alameda County * Santa Rita County. Jail Santa Clara County Jail CenterPoint- NA, AA, Ete.
Contra Costa County * /San Quentin State Prison |Santa Clara County Jail CenterPoint NA, AA, Etc.
Del Norte County San Quentin State Prison {Del Norte County Jail CenterPoint NA,.AA, Etc.
Humboldt County San Quentin State Prison |Del Norte County Jail CenterPoint NA,.AA, Ete.
Marin County * San Quentin State Prison {Santa Clara County Jail = |CenterPoint © NA, AA, Etc.
Napa County * San Quentin State Prison {Santa Clara County Jall CenterPoint NA, AA, Etc.
San Francisco County* San Quentin State Prison |Santa Clara County Jail CenterPoint NA, AA, Ete.
San Mateo County * Santa Rita County Jail Santa Clara County Jail CenterPoint NA, AA, Ete.
Santa Clara County” - Santa Rita County Jail Santa Clara County Jail CenterPoint NA, AA,. Ete.
Santa Cruz County* {Santa Rita County Jail Santa Clara County Jail CenterPoint JNA, AA, Etc,
Solano County * San Quentin State Prison {Santa Clara County Jail CenterPoint « NA, AA, Etc.
Sonoma.County * San Quentin State Prison {Santa Clara County Jail GenterPoint NA, AA, Etc.
* Females from County |Valley State Prison Women|San Francisco County Jail |CenterPoint NA, AA, Etc.
REGION Ill
Los Angeles County Los Angeles County TBD Walden House NA, AA, Etc.
REGION IV
Orange County Calif. Institution for Men TBD Mental Health Systems |NA, AA, Ete.
Riverside County Calif. Institution for Men TBD Mental Health Systems NA, AA, Ete.
San Bernardino County {Calif. Institution for Men TBD Mental Health Systems |NA, AA, Etc.
San Diego County RJ Donovan State Prison |TBD Mental Health Systems |NA, AA, Etc.

10/27/05 265

